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EXHIBIT H
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK
UTICA DIVISION
FRHILADELPHIA INDEMNITY INSURANCE COMPANY A/SO/ BALDWIN
REAL ESTATE CORP.,
Plaintiff,
-against-
KATHLEEN BURKE BARKER,

Defendant.

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ELD AT: Zoom Conferencing
November 11, 2020
Start time: 11:05 a.m.

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EXAMINATION BEFORE TRIAL of JAMIE McALLISTER,
Ph.D., expert witness, taken by the Plaintiff,

pursuant to Notice.

 

 

 
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Court Reporter.

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

STIPULATIONS

IT IS HEREBY STIPULATED AND AGREED by and between
the parties hereto through their respective counsel,

that all rights provided by the F.R.C.P., including the
right to object to any question except as to the form,

or to move to strike any testimony at this Examination,
Are reserved; and, in addition, t he failure to object

to any question or move to strike any testimony at this
Examination shall not be a bar or waiver to make such a
motion, and is reserved for the trial of the action:

It is further stipulated and agreed that the
transcript of the testimony may be signed before any
notary public or other officer authorized to administer
paths;

It is further stipulated and agreed that the

filing and certification of the original of this

Examination are waived.

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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

JAMIE McALLISTER, Ph.D., having been
first duly sworn, testified as follows:
EXAMINATION

BY MR. ZIELINSKI:

Q. Could you please state your full name for the
record, please?

A. Jamie Lynn McAllister.

Q. What's your date of birth?

A. October 22nd, 1977.

Q. And what is your current employment?

A. lam the owner of a company called Fire Tox,

Q. And how long have you owned that company?
A. For 3 years.

Q. And are you the sole owner or do you have any
partners?

A. It's owned between myself and my husband.
Q. 50-50 split?

A. No. It's a 51-49.

Q. And who has the 51?

A. Ihave the 51. It's a woman owned business.
Q. Okay. And is itis an LLC? What type of
business is it formally?

A. LLC.

Q. And what is the function and purpose of that

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

business?
A. We provide four core service areas, So we
provide fire investigation, origin and cause, as well

aS post-fire reconstruction analysis. We also provide

Pak

fire protection, engineering design services,
construction inspections and commissioning. And then
we work in the research arena, as well, primarily doing
research -- fire research for federal entities in the
United States and Canada. And then we also provide
training to fire investigators, primarily the

nternational Association of Arson Investigators
chapters throughout the country.

Q. And how many employees do you currently have,
other than you and your husband?

A. We have two other individuals that work for

us, and they are on a part-time basis.

Q. Now, you did go through a number of things
that make up the business. Is there one particular
area that over the past 3 years has been the primary
revenue source for the Fire Tox entity?

A. It's changed, because in the last year | went
from doing this on a part-time capacity to a full-time
capacity. Prior to this past year, we actually -- |

did investigation work, still, under my previous

employer, who is Combustion Science & Engineering. So

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER Page 7

JAMIE MCALLISTER, Ph.D., 11/11/2020

 

—

his year | would say it's a pretty even split between

all of those four elements that | mentioned. Maybe not

f

$0 much on the training, because it's COVID and it
impacted that a little bit. But between the other

three areas, research investigation and what | call
traditional fire protection, it's about an even split.

Q. And | saw that overlap on your CV. And I'm
not going to get too much into it. But just so there's

a point of clarification, the Fire Tox has been around

ry

for 3 years. You provided your fire investigation

service -- you performed fire investigation services

for Combustion Science during 2 of those first 3 years?
A. Correct.

Q. And why was that?

A. That was the agreement that we had in place.
When | left Combustion Science to go work for the
Federal Government, | continued to work for Combustion
On a part-time basis and continued to do fire

nvestigation work with them. The agreement was that
when | started my own business, we would primarily
focus on training and research. And the opportunity
came about to go in to this in a full-time capacity,

and that was when we had conversations with Combustion
saying Hey, we're now going to start shifting and doing

this work under our own umbrella.

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER Page 8

JAMIE MCALLISTER, Ph.D., 11/11/2020

 

Q. How long were you affiliated with Combustion
Science?
A. 20 years.

Q. And under Combustion Science what services
did you provide over those 20 years?

A. Fire investigation. And they also do

laboratory research, research and development, so the
Primary areas that | worked in with them was in working
as a fire investigator, working on litigation cases and
then also working as a fire researcher.

Q. And would you consider your time -- and |

Know it's 20 years, so it might vary from time to time.
But would you consider your affiliation with Combustion
Science to be part-time over that 20 years, given your
role in working with the government in other areas?
What would you consider that role to be, as far as
employment?

A. Sol was a full-time employee with them for

13 years. And then the remaining 7 of those years was
on a part-time capacity.

Q. So it would have been the last 7 years?

A. Correct.

Q. And let's just briefly go through your

education for me.

A. My Bachelor's is in fire protection

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

Engineering. My Master's is in fire protection
engineering. And my Doctoral degree is in toxicology,
with a focus on combustion toxicity and fire-related
deaths and injuries.

Q. Just take me through the Bachelor's degree.

—_—

here did you obtain it and when?

A. So the Bachelor's was from the University of
Maryland, College Park, and that was in 2000. And then
the Master's was from the same university in 2002. And
the Doctoral degree was from the University of Maryland
School of Medicine in the Baltimore City campus, and
that was in 2010.

Q. And that area of -- your doctorate was in

what again? I'm sorry?

A. So the focus of the Doctoral degree, part of

the program required me to do course work on all -- all
things toxicology related. But the Doctoral

dissertation work that | performed was with the office

of the chief medical examiner, and that was focused on
fire-related deaths and injuries and combustion

toxicity and also looking at how drugs impact the

ability of an occupant to escape from a fire.

Q. Okay. And just briefly take me through what
your Master's was focused on.

A. So my Master's degree, again, was in fire

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

rotection engineering. The general Master's level of
at program covers advanced fire dynamics, so that
ould mean things like understanding the transfer,

thermal chemistry, thermal dynamics, fluid flows, flame

fy

spread, the release rate. And then also the focus of

my thesis in that particular program was

£B.

slectrically-initiated fires.

Q. And that was a 2 year program?

A. Yes.

Q. Allright. And today -- what licenses or
certifications do you have today, that you hold?
A. lama certified fire investigator through
the IAAI.

Q. When did you first obtain that?

A. | would have to look at my CV to be sure, but
think it says 2004.

Q. That's fine. What other certifications or
icenses do you have?

A. lamacertified safety professional: that
would have been within the last 3 years that |
obtained. | also have licenses as a professional
engineer in the State of Maryland and the State of
Delaware. Those are what | would consider to be my
icenses. Obviously, there's a lot of other types of

certifications that are issued as a result of various

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

trainings that I've taken through the fire service.

But those are the ones that | would consider are my
l|lcenses.

Q. Okay. Fair enough. Do you hold any New York
licenses?

A. No.

Q. Do you hold any -- an investigator's license

n the State of New York?

A. No.

Q. And you mentioned your fire -- your fire --

other related fire activities. Have you been involved,
aS a firefighter or worked as a firefighter throughout
the course of your career?

A. | was actively involved in the fire service

aS a firefighter and emergency medical technician for
15 years, and | still continue to be involved in the

fire service, but on the administrative side.

Q. Okay.

A. So positions such as like president or
managing various committees, bylaw committees, grant
committees in support of the fire department.

Q. And has it been the same fire department
throughout your career?

A. No. | started as a firefighter in

Pennsylvania.

 

 

 
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JAMIE McALLISTER, Ph.D., 11/11/2020

 

Q. Where was that?
A. In Colmar, C-O-L-M-A-R. When | went to the
University of Maryland for my degree, | then

—

ransferred to Beltsville Fire Department, which is in
Prince George's County. B-E-L-T-S-V-I-L-L-E. |

also -- so within Prince George's County there are a
number of different departments. So | was at -- I've
been at three different departments, one on the
northern portion of the county, one in the central
portion of the county, and then the current department
‘m with and have been with for, | think, somewhere on
the order of 12 or more years, probably close to

15 years, is on the southern portion of the county,
which is Morningside.

Q. And before you got in to the administrative
role, you said you had approximately 15 years of fire
service. Would that be firefighting, serving as a
firefighter?

A. Yes. Sol served as a firefighter. | served

As a driver operator. | was a lieutenant. I'm trying

to think if there were any other assigned roles besides
them. Those are mostly the assigned roles that | had.
Q. You said you were also an EMT?

A. Yes.

Q. During those 15 years of fire service, were

 

 

 
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you also -- tell me about the EMT and how that
coincided with the fire service work, if it did at all.

A. So we're required within Prince George's
County to be both firefighters and EMTs. Even if you

pin the fire department only wanting to be a

—, ——.

irefighter, the county requires you to obtain your EMT
certification. So in some cases that means that |

would be riding on both the fire apparatus, as well as
ambulances as needed. At Morningside the majority of
the time that | was there, we did not have an
ambulance, but we still were required to respond to
emergency medical calls, if we were the closest unit
available, which meant that we provided emergency
medical treatment on the scene in advance of an
ambulance arriving to transport the patient.

Q. So would it be a fair assessment to say that
you were an EMT and you functioned as an EMT within
your duties within the fire department? Is that a fair
assessment?

A. Yes.

Q. Okay. And | know this is going to be

Hifficult to quantify, so I'm obviously asking for an
Approximation or estimation. Approximately how many
fires have you responded to in your career as a

firefighter?

 

 

 
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A. |would say on the order of thousands. |
don't know -- | couldn't, probably, put an exact - you
Know - how many thousands. But! would say on the
order of thousands.

Q. And in that time as a firefighter or within

four role within the fire department, did you ever

Soe

perform fire investigations on behalf of the fire

fy.

iepartments?

A. No.

Q. Doing that role as a firefighter, would you
ever be in a position to interview witnesses and
observers of fires?

A. There would be times where we would have
conversations with individuals after the incident, to
try to better understand what happened. But that's not
within the context of performing any type of official
nvestigation. One of the things that we are required
to do in the fire department is we're required to fill
put incident reports that identify what the potential
cause of the fire might be. It's different than what
the jurisdictional investigator's responsibility is.

So that's kind of why there's some level of an inquiry
nvolved. But not interviewing for the purpose of
performing the official investigation.

Q. Fair enough. As you sit here today can you

 

 

 
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pent how many fires that you responded to as a
irefighter, that the suspected cause was a suspected
cigarette or smoking materials?

A. Gosh. | think | would be guessing if | gave

Q. Certainly the answer would at least be

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3

4

5 you a number.
6

¢ multiple times that that occurred in the thousands --
8

A. Sure.
9 Q. -- of the times that you responded to fires?
10 A. Yes.
11 Q. Would the same hold true for smoldering

12 fires, weather smoking materials be the cause or not,
13 but have you responded to fires which you understood
14 witnesses or observers to believe that the fire

15 smoldered before it manifested itself?

16 A. Yes.

17 Q. Are you able to quantify in any way how many
18 times that -- how many times you experienced that

19 situation, as a firefighter?

20 A. | wouldn't be able to with certainty.

21 ( Internet interruption )

22 Q. In your time as a firefighter, did you ever

23 have experience with taking actual witness statements
24 to those individuals that may have witnessed or

25 involved in a smoking-related or

 

 

 
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JAMIE McALLISTER, Ph.D., 11/11/2020

 

gmoking-material-caused fire?

A. No.

Q. And how about the same question with regard
to speaking to witnesses or observers, in your

firefighting capacity, for individuals who would have

ox

been describing a fire that may have been caused with a

tp

smoldering effect?

A. It wouldn't have been in an official

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¢apacity, no. Not taking witness statements in an

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official capacity.

—
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Q. And fair enough. | quantify that by making

—
NO

t sound more formal with regard to statements. But

—
Ww

now about, from causally speaking to those while

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performing fire suppression or involved in fighting a

—
on

fire, were you able to speak with individuals who may

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nave discussed how smoking materials may have led to a

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fire?

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A. |don't have a specific recollection. But

—
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ike | said before, it's not uncommon for those types

NO
So

of conversations to occur after the event, when

NO
—

everything has been put out, people are standing around

NO
NO

Dutside providing information about what they saw, what

NO
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they did, what they heard. | don't have a specific

NO
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recollection of that, though.

NO
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Q. Moving more to your investigative or your

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER Page 17

JAMIE McALLISTER, Ph.D., 11/11/2020

 

forensic career. How long would you have considered
yourself to be involved in -- as a forensic fire
investigator? How many years?

A. 20.

Q. And approximately how many fires have you

nvestigated during those 20 years?

A. Probably -- | think probably somewhere in the
order of 600.
Q. Okay. And in this instance -- obviously it's
a situation where you're basically reviewing a file
that was provided to you, correct?
A. Correct.
Q. How many of those 600 involve this type of
review, where you were reviewing someone else's
conclusions and rebutting them?
A. Well, | think the majority of all of that
would include that. I'm not sure if you're saying how
many involved me going to the scene versus reviewing
case files or --
Q. That's one way to phrase it. How many
times -- how many of those -- would you include
ituations like this, reviewing the file, where you
didn't go to the scene, as one of those 600 fire
nvestigations?

A. Yes.

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

Q. How many would fall under the category, the

ituation that you were sitting in today for this case?

Lf

A. | would say it's probably somewhere in the

order of a 50-50 split between when we actually have

~e

ne opportunity to go to the scene versus instances
like this, where it's after the scene has already been
demolished and we're, basically, reviewing a file.

Q. So you would say about 300 of those 600 would
be -- and again approximately -- would fall under the
category of file review as opposed to going to the
scene?

A. Correct.

Q. And would it be fair to say that the majority
of those -- in those instances that you would be --
would have been retained by the defense involved in
that case?

A. That's an interesting question. No. | mean,
think that our work tends to be kind of in a 50-50
capacity as well, as far as the split between
plaintiffs and defendants. So even on the plaintiff
side, I've had cases where they've come to me later, so
they may have had somebody and then realized we need to
nave an engineer do this, look at this, do these
calculations and come to me after the scene is no

onger available. So it tends to be about a 50-50

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

split for us between plaintiff and defendant.

Q. And! understand you have multiple, different
areas of focus within the fire -- within the fire
investigative field. So when you say you're brought in
as an engineer, are you talking about a fire

protection engineer?

A. It could be -- so | should say it could be me

poking at something from the perspective of fire
protection hearing. It could also me be looking at
something in the perspective of forensic toxicology
where Combustion Science is -- it depends on the case.
Q. Of the files that you received to review as
Dpposed to going to the scene, were you ever retained
to dispute or determine origin and cause?
A. Yes.
Q. Again, are you -- and | know this is
difficult. Are you able to determine of those 300
approximately how many fall under that category?

A. Gosh. | mean, my inclination is to say more
than less that we're looking at it more globally and
not just looking at one particular issue. But | don't
Know that | could give you a percentage breakdown with
any confidence.
Q. In this case who retained you in this case?

A. We were retained by Mr. Casey's firm.

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

Q. Do you know who Mr. Casey is working for in

—

his instance?
A. My understanding is he represents Ms. Barker.
Q. And are you aware of who the insurance

sarrier is?

cy

A. [do not recall at the moment.

Q._ If | told you it was Erie and Niagara, would
you recognize that name?

A. That sounds familiar, yes.

Q. Prior to this case, had you ever performed
any forensic work for Erie and Niagara Insurance?
A. I|don't recall anything for Niagara. Erie |
definitely -- I'm fairly certain over the years,

pecause they're a large insurance company that --
Q. Actually, I'll stop you there for a second.

The name of this company is Erie and Niagara. It's
separate from Erie. It's separate from Niagara. Just
to be clear. | was specifically asking about Erie and
Niagara Insurance Company.

A. 1|do not have a specific recollection of

doing any work previously for them. It's always
possible. But that's not really how we track our
casework. We track it based on the law firm, not the
nsurance company.

Q. Had you ever worked for Mr. Casey prior to

 

 

 
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Q. And how many times have you been deposed as a

1 this?

2 A. | recall one previous case that | worked with
3 him.

4 Q. And how about Mr. Casey's firm?

5 A. Not that I'm aware.

6 Q. And was that a fire-related matter?

7 A. Yes.

8

9

forensic fire investigator?

10 A. | believe that | have had 17 depositions.

11 Q. So you've had -- and | guess -- | just want

12 to break this down a little bit more. You've had 17

13 depositions as an expert?

14 A. Yes.

15 Q. And | know you also have experience with the
16 toxicology aspect of things. So | want to quantify how
17 many of those 17 depositions involved, let's start

18 with, a conclusion relative to a cause of a fire?

19 A. lam not sure what it would be. Probably

20 more of those are related to fire than combustion

21 toxicity. | mean, as a fire expert, | group them all

22 under fire, because even in the carbon monoxide cases,
23 |'ve -- resulting from combustion.

24 Q._ Right.

25 A. But! think based on what | understand you're

 

 

 
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sking, | would say more so than less. Without having
list in front of me, | can't give you an exact
umber.
Q. And so under the -- what you would view as
he toxicology aspect of things -- and | may be
peaking in unlike terms, so you can correct me if I'm

rong. But the toxicology-type matters would be cases

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hat involve inhalation of smoke, carbon monoxide,

9 things of that nature? That's what you would quantify
10 pr qualify as a toxicology-type matter?

11 A. Right. So it could be anything from

12 ‘combustion -- it could be from exposure to products of
13 combustion related to carbon monoxide; it could be a
14 fire case where I'm looking at both origin and cause
15 and also looking at the impact that drugs and alcohol
16 may have on a victim, or looking at the exposure of
17 products and combustion from what we call unwanted
18 fires impacted the victim.

19 Q. And when you're typically retained, you said
20 you keep track as the name of law firms. Are you

21 generally contacted by law firms for the type of work

 

22 you just described?
23 A. Yes. That's the primary point of contact,
24 yes.

25 Q. And some of those do involve personal injury

 

 
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claims as well, correct?
A. Yes.
Q. Have you ever been -- have you ever given --

have you ever been qualified as an expert to give

—

estimony at a trial related to any fire-related topic

ss

or which you were retained?

A. Yes.

Q. How many times?

A. I've gone to trial 5 times.

Q. And can you take me through, generally, those
D -- those 5 matters and what you were retained and
what your opinions were?

A. The ones that are relevant to your question

or for all of them?

Q. Well, of the 5, how many times were you
reaching an opinion with regard to a fire's cause and
Drigin?

A. So my recollection is one of those cases was
revolving around the potential ignition of a

wheelchair. There was a case | had that was -- which
revolved around the ignition of wood shavings at a
manufacturing plant. Now I'm trying to think what

the -- oh. There was a conviction criminal case that |
was invoived in, which had to do with origin and cause

and looking at the kind of products of combustion the

 

 

 
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anh WwW DMD |= OO OO WN OO ON KR WD DSO aA OO

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$cene was exposed to, based upon the proposed origin
and cause of the fire. There's 3. The other 2 are
unrelated -- one was a carbon monoxide poisoning

ncident. The other was actually related to a

=p —-

re-service-injury incident.

Q. Fair enough. And | appreciate the quick
summary. With regard to the ignition and the wood
shavings, what was your testimony -- what were your
conclusions in that case?

A. Now, you're asking me to reach into a hole
that --

Q. And | certainly understand if -- if you can
recall.

A. | recall that it revolved around whether or

not there was self-heating. As a result of the wood
shavings, it had to do with the origin of the fire.

There were calculations that | did for revolving around
flame heights coming off the wood shavings. It's been
Quite a while. | don't really --

Q. Were you -- do you recall whether you were
representing the plaintiff or the defendant in that
matter?

A. We were working for the defendant in that
matter.

Q. With regard to --. Strike that. We started

 

 

 
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to go down the path of who you were retained by in this
¢ase. And you said that it was Mr. Casey, is that
correct?

A. Yes.

Q. In your investigation of this case, have you
dealt with any other investigators or contacts, other
than Mr. Casey, for the defense aspect of this case?

A. Can you rephrase it? Because I'm not exactly

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gure what you're asking.

—
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Q. Have you dealt with any other individuals,

—_
—_

other than Mr. Casey, with regard to this matter?
A. No.

Q. What was your understanding of the scope of

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your retention? What were you retained to do in this

=
or

case?

=
oO)

A. To review the case file, to review the

—_—
~]

reports that had been produced and to determine whether

=
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could come to any conclusions about the origin and

—
©

cause of the fire.

NO
©

Q. Do you recall when you were first retained,

NO
—

what the date was?

NO
NO

A. It would have been this year. | don't know

NO
Ww

exactly, only to say it was probably somewhere within

NO
&

the late end of the first quarter, maybe the beginning

NO
o1

of the second quarter of this year.

 

 

 
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Q. And what did you do with regard to
preparation for today's deposition?

A. | went through the conclusions within my
yeport - and there are a few calculations that |
believe were produced to you - that | performed in
response to Mr. Vieau's rebuttal report. Generally

went through and reviewed the documents that | had

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produced as part of my file.

9 Q. You mentioned calculations in response to

10 Mr. Vieau's report.

11 A. Rebuttal report.

12 MR. ZIELINSKI: Off the record.

13 ( Discussion off the record )

14 EXAMINATION ( Continued )

15 BY MR. ZIELINSKI:

16 Q. So you reviewed calculation that are in your
17 notes, that are were produced and that we'll mark

18 towards the end of this deposition. What else did you
19 review?

20 A. |think | mentioned my report. | went back

21 and looked at some photographs and Mr. Vieau's report
22 as well.

23 Q. What else, if anything, did you do in

24 preparation for today?

25 A. |have a summary document that summarizes my

 

 

 
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motes from the depositions; | reviewed that as well.

Q. Are those notes in your file?

A. Yes.

Q. And when you -- with regard to the
depositions, did you read -- you've read Mr. Vieau's
deposition, is that correct?

A. Yes.

Q. And you've read the deposition of all of the
fire officials --

A. Yes.

Q._ -- that testified in this case?

A. Yes.

Q. Is there anything that would be in your file,
that was not provided to Mr. Casey to be provided in
this case?

A. No. The only thing | have is, obviously, the
cigarettes.

Q. We'll get in to that a little bit later.

Other than the cigarettes, what else would be
considered part of your file, if anything, that wasn't
provided?

A. Nothing else.

Q. And do you only maintain a hard file?

A. No. The majority is electronic.
Q

Actually that was a poor question. Do you

 

 

 
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oaohwoND |= OC O DOAN OD ON HR WHO DBO = OO

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only maintain an electronic file?

A. Most of it is electronic. | kind of print

in

stuff out, depending on -- sometimes when I'm preparing
reports, it's easier to have the diagrams in front of
me or certain photographs in front of me, so | may
choose to print some photographs. My report is printed
out. My summary is printed out. And then obviously |
have written pieces of paper too.
Q. Okay. Do you know who Michael Seidel is?
A. [don't recall of the top of my head, no.
Q. You don't recall speaking with a person named
Michael Seidel of Seidel Claim Services? Perhaps I'm
pronouncing it wrong. S-E-I-D-E-L.
A. No, | have not spoken to him.
Q. Okay. And he was the individual that went
and obtained the cigarettes, based on the information
that we received.

A. Correct. So that's probably why his name
ooks familiar to -- or sounds familiar to me. But
‘ve never spoken to him directly.

Q. Okay. And with regard to the tests that
we'll talk about, do you recall whose idea it was to
perform testing on the cigarettes?
A. That was my idea.

Q. And did you ever have any conversation with

 

 

 
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1 Mr Seidel about where to go or how to obtain them or
2 low to get them to you?

3 A. No.

4 Q. And it's your recollection, now that we've

5S $aid his name and identified who he is, that you never
6 spoke to him directly?

7 A. Correct.

8 Q. Did you ever correspond with him?

9 A. No.

10 Q. Is it your understanding, and I'll do a poor

11 job of pronouncing this, that Ganienkeh,

12 (G-A-N-I-E-N-K-E-H, Reservation in Altona, New York, do
13 you know why that specific location was identified for
14 the purchase of the exemplar cigarettes.

15 A. | do not.

16 MR. CASEY: He said the name of the

17 reservation and then he said exemplar cigarettes.
18 Q. Did you ever talk to Kathleen Barker as part
19 pf your investigation?

20 A. No, | did not.

21 Q. Did you ever talk to Brian Wydra, W-Y-D-R-A?
22 A. No.

23 Q. Did you ever speak to a person named Bill

24 Haynes?

25 A. No.

 

 

 
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Q. Did you ever speak to any of the fire
investigators from Lewis County that were deposed?
A. No.

Q._Is your investigation in this case strictly
lImited to, for lack of a better term, the paper review
of this file?

A. Yes. | mean, | reviewed -- reviewed what was

cy

provided to me, reviewed the literature, performed the
tests that you're aware of, but did not speak to any of
the people that were deposed in this case or wrote
reports.

Q. The cigarettes that were purchased, there
were 4 cartons purchased. Was that at your direction,
the amount of cigarettes purchased?

A. No.

Q. And do you know what type of brand these
cigarettes were?

A. They're called Rollies brand. R-O-L-L-I-E-S.
And do you know where they're manufactured?
| do not.

Do you know how they're manufactured?

No.

Do you know if they're manufacturing process

oP >or>ro

Ss -- would -- produces identical cigarettes - you

Know - over the course of months of different runs of

 

 

 
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nh WHY |= CO O WAN DO KR WH NY 3 OO

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the product?
A. | do not.
Q. Were you able to confirm that the cigarettes
that were purchased by Mr. Seidel were the same
cigarettes or were the same brand cigarettes that were
smoked by Ms. Barker on the day of the fire?
A. That is my understanding.
Q. How did you get that understanding?
A. Based off of Ms. Barker's deposition
testimony, it's my understanding that the cigarettes
that were purchased were the exemplar cigarettes, the
ones she smoked on the day of the incident.
Q. What about her testimony made you have the
understanding that they were similar to what was then
purchased at this Indian Reservation and mailed to you?
A. The location that she purchased them from --
or that her friends purchased them from, | should say,
and the information that Mr. Casey had represented to
me.
Q. And do you recall in her deposition that
Ms. Barker essentially stated that the cigarettes came
from her friend who purchased them at the Plattsburg
ndian Reservation, is that correct?

A. That's correct.

Q. Do you recall in her deposition testimony her

 

 

 
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aying anything about the Ganienkeh Reservation in
ltona, New York as the location for where the
igarettes were purchased?
A. 1|do not.
Q. Sitting here today, other than the
ffirmation by Mr. Casey, do you have any other
information or support to confirm that the cigarettes

ere similar or identical to the ones Ms. Barker smoked

rt

yn the day of the fire?

A. |do not.

Q. Are there any cigarettes -- like | said,
we'll get into the testing later. But are there any

eft over cigarettes -- exemplar cigarettes from the

testing you performed?

A. Yes.

Q. Do you know how many of the 4 cartons, how
many cigarettes remain?

A. We would have tested -- | believe out of
that, there was only -- let's see. We did replicates
of 3 for each test, so that's 6, and | believe 1 or
those -- or 2 of those were used for dissection
photographing.

Q. So there would be a lot left then, fair
enough?

A. Yes.

 

 

 
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1 Q. Atleast 2 cartons, correct?

2 A. Correct.

3 Q. And where is that now?

4 A. In my possession.

5 Q. Whose -- the test itself that was performed

6 and the scope of it and exactly what was done, whose

7 idea was that?

8 A. That was mine.

9 Q. And where were those tests performed?

10 A. We have a garage facility in my home where |

11 fun my business that is dedicated to our investigation

12 equipment and evidence storage.

13 Q. When did you perform that test?

14 A. It was actually over a weekend. | don't have

15 the exact date.

16 Q. Would that be in your notes anywhere?

17 A. It might be on the pictures, actually, on my

18 phone. | want to say it was September. Let me just

19 |ook at my calendar.

20 Q. Actually, | was just looking through the

21 |nvoices that were provided with your notes, and it

22 bays Analysis Testing on September 27th.

23 A. Right.

24 Q. That coincides with your notes and the

25 photographs?

 

 

 
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A. Correct.

Q. Do you recall how long the test took you to
prepare, set up, complete?

A. Somewhere around the order of an hour.

Q. And when you perform this testing, had you

reviewed all of the deposition transcripts -- well,

ty

strike that. Had you reviewed the Lewis County Fire
Department report?

A. Yes.

Q. Had you reviewed Daniel Vieau's fire report?
A. Yes.

Q. Had you reviewed the fact witness depositions
that were taken to that point?

A. Yes.

Q. Why did you determine to -- why did you
conclude that this was the test that needed to be
performed?

A. So the purpose of this test was simply to
share that these particular cigarettes aren't unique in
any way with regards to what the literature reports as
the ranges for burning rates for cigarettes. So it was
essentially taking what the literature and Dr. Krasney
and his comprehensive report on cigarette burn rates,
ooking at those values and then essentially just

verifying that these particular cigarettes had nothing

 

 

 
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unique about them that would cause them to be grossly

outside of the burn rates that are reported in the

terature.

Q. Andis the reason you wanted to confirm that
because these were Rollies brand as opposed to a more
commercially available brand?

A. Well, we don't -- we didn't know if they had

any type of fire safe cigarettes aspects or

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characteristics. Not necessarily because they were any

—
©

particular brand. But potentially just to show that

11 they behave in the same way that other cigarettes that
12 have been characterized.

13 Q. So this was -- if Ms. Barker had testified

14 that she had smoked Marlboros or Marlboro Lights, would
15 you have performed the same test?

16 A. Yes.

17 Q. And why is that?

18 A. Again, just to verify that that brand of

19 cigarettes and that particular length of cigarette,

20 diameter cigarette is within the ranges that are

21 feported in the literature.

22 Q. Prior to this testing, throughout your

23 fareer, had you ever performed any cigarette-related
24 tests?

25 A. Yes.

 

 

 
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Q. And how many times?
A. |can recall a handful of times where |
looked at the potential for cigarettes to ignite
olyurethane foam and doing experimentation related to
lacement a cigarette within crevices versus on top of
ushions. | recall some testing that was done

egarding the ability to cigarettes ignite in gaslone

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pole (sic) fires. Those are the ones that come to

9 mind. There may be others.

10 Q. Were these tests done related to specific
11 fire investigations that you were retained on?

12 A. Yes.

13 Q. And so let's work backward. You said that
14 you were testing the ability for the relationship

15 between gas and cigarettes? Is that one of the tests?
16 A. Yes.

17 Q. What were you trying to accomplish in that
18 test? Or what were you trying to determine in that
19 test?

20 A. Whether the cigarette was the competent
21  jgnition source.

22 Q. And can you just generally take me through
23 what you did?

24 A. |mean, this is several years ago. My

25 recollection is there was a pan that was -- when |

 

 

 
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a fF WOW DY = OC O WAN OD MN KR WH DY 2 CO

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orked at Combustion, we have a combustion laboratory,
e use a hood, placing a pan under the hood and
essentially putting the cigarette into the pan,
determining whether it was capable of causing ignition
of the vapor coming off the gasoline.
Q. And were you able to achieve any ignition?
A. No.
Q. And in that case what were -- were you
retained to rebut another expert's contention that
gnition could be achieved by putting a cigarette in
gasoline?
A. I honestly don't remember all of it. | mean,
this would have been over 10 years ago, if not longer;
don't remember all of the reasons why we were doing
the test. | just remember doing the test.
Q. You also said that you dealt with testing
regarding the placement of cigarettes on certain
surfaces and crevices, is that correct?
A. Correct.
Q. How long ago was that?
A. Probably around the same, 10, 15 years ago.
Q. Would that have been a different case than
the gas testing case?
A. Yes.

Q. And do you recall what your purpose for

 

 

 
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performing this test was?

A. There was an issue as to whether or not the
cigarette that could have been laying on top of a
cushion was capable of igniting it or whether or not it
had to roll into the crevice in order for ignition to
occur.

Q. What did your testing determine?

A. The crevice orientation is -- the crevice --

for the crevice of the couch, the area between -- in
this particular case it was the arm of the couch and
the couch cushion -- was necessary in order to be able
to get ignition to smoldering combustion to develop.
Q. And just briefly, so we can talk like terms,
when you say smoldering combustion, what does that mean
lO you?

A. Sonon-framing combustion essentially. So
you've got smoke production, there is an area that is
polarizing, the material is burning, but at a very slow
rate and there's no visible flame present.

Q. And when you performed the testing that you
were describing, did you attempt to determine if the
cigarette would ignite simply laying on the surface?
A. Yes.

Q. And you said your conclusion was that it

would need to be in the actual crevice in order to

 

 

 
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result in ignition, is that correct?

A. Correct.

Q. And when you reached that determination, why
Were you -- what was your conclusion with why the
¢revice resulted in ignition?

A. What ends up happening during the smoldering

Process, specifically with polyurethane foam is that

—

he foam tends to essentially melt away from the

ry.

tigarette. So you need to have some type of
brientation that would allow for heat to be contained,
which is what you get when you have it, basically, in a
crevice orientation. Heat is able to be contained and
there's a low enough heat loss that it allows for that
smoldering to sustain and eventually transition to
framing combustion.

Q. And essentially acts as an insulator for the
cigarette to smolder, correct?

A. Correct.

Q. The other testing that you did -- and my
notes will be poor on the first one that you described.
Do you recall the first testing you said that you
performed, other than this one and other than the 2
that we discussed, related to cigarettes?

A. | think -- I'm not exactly sure | understand

the question. What | would have --

 

 

 
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Q. | think you said that you listed 3 different
tests, that you recall, that you performed. | was
working backwards, and my notes on the very first one
are poor. We just described the crevice test, the
gasoline test. Is there any other test that you recall
performing, relating to cigarettes, other than the ones
you did in this case or the ones we discussed?

A. No.

Q. With regard to the testing that you performed
n this case, the results that you ultimately received,
were they what you had anticipated before performing
the tests?
A. Yes.
Q. And why did you anticipate such a result?
A. Based on the literature.
Q. And what literature are you referring to?
A. So there's -- within Chapter 19 of the SFPE
Handbook, there's information regarding smoldering --
'm sorry -- burning rates for cigarettes. And then
also the article | cited Krasney - it's K-R-A-N-S-E-Y -
provides a lot of data related to burning rates from
cigarettes -- hundreds OF cigarettes from various
countries across the world.
Q. With regard to your career as a fire

nvestigator, have you determined -- have you ever

 

 

 
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determined that a -- that A cigarette was the cause --

was a cause of a fire?

A. Yes.

Q. Approximately how many times have you reached

that conclusion of the -- approximately 600 cases that

we've mentioned you've been involved in?

A. | couldn't tell you with any certainty. |

mean, | can think of a few cases that were fires as a

result of cigarettes. | can't tell you with any

certainty how many of those 600 it would be.

Q. And of the few that you -- that you don't

Know how many, but you know that you, at least, reached

that conclusion, did any of them involve a period of

smoldering before the fire manifested?

A. Yes.

Q. Do you know how many?

A. The 2 that I'm thinking of, that involved

couches actually, and there were a few that I'm

thinking of now that involved mattresses, and in those

particular instances there were smoldering periods.

Q. Do you have any general idea of what the --

the general length of those smoldering periods were?
A. |don't remember for those specific cases.

t can be - you know - on the order of 45 minutes to an

hour. | don't remember those cases specifically.

 

 

 
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Q. And do you ever remember any smoldering cases
involving cigarettes having a smoldering time beyond

» hours?

BK}

MR. CASEY: Object to form.
A. None that | -- that come to mind, no.

Q. With regard to -- | know we talked about

fp

smoldering fires related to cigarettes. Have you ever

been involved in any other fires that involved a period

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of smoldering in which the cigarette wasn't the likely
10 Cause?

11 A. Yes.

12 Q. Provide some examples, if you can, of what
13 smoldering fires you've been involved with, that had
14 other causes and what those causes were?

15 A. The ones that come to mind are disposal of
16 pily rags. There's one that I'm thinking of that

17 |nvolves fine aluminum shavings. So these would be -
18 you know - materials that are capable of self-heating,
19 that start as a smoldering process and then eventually
20 transition to flaming.

21 Q. Allright. And you mentioned that shavings
22 ase previously -- the wood shavings case, correct?
23 A. Correct.

24 Q. Would that fall under one of those type fires

25 that involve smoldering?

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER
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A. remember doing flame height calculations

for that case. | don't believe -- | don't know whether
or not the issue in that case was regarding the onset
of some sort of biological process in the shavings. |

don't believe it was, because they were just straight

—_—

vood shavings. It wasn't anything to have any type of
material in it, from my recollection.
Q. With regard to those smoldering fires -- and
| understand they differ differently than potentially a
cigarette fire -- but have you experienced with oily
rags and the ultimate combustion that comes from them,
that they process smoldering times in excess of
2 hours?
A. I|don't recall any cases where we've had
anything in excess of 2 hours for smoldering.

Q. With regard to -- have you come across any
iterature that speaks to the ability of cigarette
fires or fires believed to have started with a
cigarette to smolder past and beyond 2 hours, given
certain conditions?

MR. CASEY: Object to form.
Beyond 2 hours?
Yes.

That I'm not familiar with, no.

Oo >oO>

Why don't we go ahead and mark your report as

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020 mses
1 Jamie McAllister -- as Dr. McAllister 1.
2 MR. CASEY: Can we take a short break?
3 MR. ZIELINSKI: Yes. If we're going to
4 take a break, just because I've gotten three calls
5 from the same person, so can we make it
6 10 minutes?
7 THE WITNESS: Sure.
8 MR. CASEY: Yes.
g ( Whereupon, a recess was taken )
10 EXAMINATION ( Continued )
11. BY MR. ZIELINSKI:
12 Q. Okay. Back on the record. We're marking
13 Dr. McAllister's Fire Tox report as Exhibit 1.
14 ( McAllister's Exhibit 1
15 marked for Identification )
16 Q. And, Dr. McAllister, this is your expert
17 feport that you submitted on September 29th, 2020, is
18 that correct?
19 A. Correct.
20 Q. And | just want to take you through some of
21 your conclusions. You're obviously familiar with this.
22 Wecan go through some of the details. | first want to
23 talk about the area of origin. You do not disagree
24 with Daniel Vieau's conclusion that the fire originated
25 jn the rear patio, behind garages A and B, is that

 

 

 
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correct?
A. Correct.
Q. And with regard to your conclusion as to the

area of origin, when you say patio, what do you mean by

the patio"?

A. So it would be the entire patio area.
Because the footprint essentially is the concrete area,
including the overhang structure above it.
Q. When you say patio, you're not limiting it to
the ground level in and around the patio?
A. No.
Q. And why is that?
A. Because there's electrical components or
electrical lighting and wiring that travels through the
roof structure of the patio as well.
Q. And it's your -- do you have knowledge today
that those switches or lights were on at the time of
the fire?
A. No. Not that's documented.
Q. And do you know during the time of this fire
or that this fire was daylight, correct?
A. Correct.
Q._ If those lights were not on at the time of
the fire, would you be able to eliminate them as to the

cause of the fire?

 

 

 
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A. The light itself?
Q._ If the florescent light was not on -- I'm
sorry -- the -- if the lights that were in that area,

that weren't on, meaning they weren't turned on at the

a

ime, would you be able to eliminate the fixtures as
the cause of the fire?

A. Yes. But there's wiring -- the problem is,

we don't have the documentation of the wiring running
through that area. So there's wiring -- my
understanding from Mr. Vieau's inspection and testimony
about the circuits having tripped in the garage area,

s that there's wiring running through that area, that
may not even have been associated with the lights.
Q. And when you say "wiring running through that
area," what do you mean by that area?

A. The area above the patio. So the roof
structure above the patio.

Q. And I guess my confusion is, where did you
get that there was wiring for other items in that area,
other than running to the lights that we're talking
about? Did that come from Mr. Vieau's deposition,
Mr. Vieau's report?

A. His deposition testimony.

Q. So when you wrote the report that we've
marked as Dr. McAllister Exhibit 1, you didn't know

 

 

 
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about that? You didn't know about the potential for
other wiring to be in that area?

A. Correct. | mean, the fact that it's

connected to the garage and there is a circuit tripped,
eads me to believe that something traveling through
that area most certainly could have gone through there

and that could be why it was tripped. But clarity on

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that issue came from Mr. Vieau's deposition.

co

Q. What is your recollection of what Mr. Vieau

10 said in his deposition with regard to that

11 Specifically?

12 A. That there was sound wiring above that area,
13 that they attempted to trace it as best they could, and
14 |t seems to me that he deferred to Mr. DeMatties with
15 fegards to more specifics about the electrical wiring
16 and damage to it. D-E-M-A-T-T-I-E-S | believe is the
17 spelling.

18 Q. And were you aware that in Mr. Vieau's

19 Opinion that he was able to eliminate the area above
20 the patio, meaning the overhang, based on examination
21 of the florescent light, as well as the burn patterns

22 |nor around the surface area of the patio?

23 A. That's my understanding, yes.

24 Q. And you disagree with that assessment, given

25 that you are unable to review the associated wiring

 

 

 
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that was in the roof area of the patio?

A. What | disagree with is the opinion that one

cy.

fan effectively evaluate electrical wiring on the fire
$cene, conclude that because they did not see evidence
of a bead with their eyes, that that then means that
the wiring was not involved in the fire. As Mr. Vieau
testified to in his deposition, laboratory analysis is
necessary in many cases in order to be able to actually
gee evidence of arcing. So the position that I'm --
Unfortunate position that I'm in is that | don't have
that evidence to look at, the laboratory.

Q. But it's your understanding that if the
ights were not energized at that time, that you would
not find --. Or strike that. Strike that. With
regard to -- with regard to your testing -- let's go
down to your testing.
A. Okay.
Q. And | believe your testing starts on -- the
description of your testing starts on page 9.
Specifically take me through, just briefly, what you
did with regard to your test.
A. So the cigarettes were tested 3 cigarettes,
50 we could get an average burn rate for each scenario.
One was performed under conditions of pre-connection,

which is essentially where the cigarette is in open

 

 

 
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rea, the winds that day were calm, so there wasn't any
ontribution where we could have gotten escalated burn
ates as a result of wind or forced conduction. The
igarettes were lit with a lighter held at the tip of

e cigarette for 5 seconds, then that was taken away,
nd the burn rate was essentially recorded from the

time that the cigarette -- the lighter was removed

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until the cigarette was extinguished. That was done

9 for the open air. The second set of tests were looking
10 ft what happens when some sort of a substrate is placed
11  0n the cigarette which will block the ability to

12 entrain air in its circumference and will cause heat to

13 dissipate from the cigarette to the substrate. The

14 literature shows that when cigarettes are placed on the
15 substrates you can get longer burning rates, so we were
16 jnterested in looking at what those longer durations of
17 burning looked like. Those again were performed on 3
18 cigarettes so we could get an average burn rate. And
19 that essentially is that test.

20 Q. And when we're testing the burn rate for open
21 air, under the circumstances of this fire, why was open
22 aira test that you showed?

23 A. To geta range to show that based -- again,

24 the purpose of these tests is not to replicate what

25 occurred on the day of this incident. The purpose of

 

 

 
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ée test is simply to show that we can rely upon the

alues within the literature and the rates provided

ithin the literature. There's nothing unique or
different about these cigarettes compared to any other
cigarette that you can go out and buy.
Q. So you're essentially saying that the test

was done to verify -- so -- in order to conclude that

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other previous tests on cigarettes were -- could be

9 used as similar or related, because these cigarettes
10 did not differ from previously tested cigarettes?

11 A. Right. | mean, to be perfectly blunt, if |

12 had simply relied upon the literature and the hundreds
13 of tests that have been done to categorize burning

14 fates, then | likely would have been asked how | know
15 that those apply to this particular cigarette. So in

16 order to evaluate that, we tested this particular brand
17 of cigarette and showed that it very well falls within

18 the ranges; nothing unique or different about this

19 cigarette than any other cigarette.

20 Q. So it's your testimony that it wasn't meant

21 foreplicate the way that Ms. Barker deposed of the
22 cigarette on the day of the incident?

23 A. Correct.

24 Q. So the fact that you didn't perform any

25  festings -- any testing with half bent cigarettes is --

 

 

 
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that's the reason why you didn't perform that type of

[na

esting?
A. Correct.

Q. Did you ever consider trying to replicate

ot

he smoldering situation on the back porch, that was
testified to in discovery?
MR. CASEY: Object to form.
A. No.
Q. Why not?
A. | did not feel that we had a sufficient level
of detail with regards to the specific type of planter,
to be able to know exactly how to replicate that.
Q. Did you know what -- sitting here today, do
you know what type of planter was on the back porch?
MR. CASEY: Object to form.
A. We know that it was plastic. | believe the
testimony was that it was 6 inches in diameter.
Mr. Vieau indicated that it was polypropylene. I'm not
sure what the basis is for that. But other than those
things, no, | don't -- | don't know anything beyond
that.
Q. In reaching your conclusions in this case,
what was your analysis or understanding as to what was
n the planter at the time of the fire?

A. The testimony provided by Ms. Barker was that

 

 

 
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there was approximately 1 inch of cigarettes in the
bottom of the planter.

Q. Did you factor in that Investigator Croneiser
testified that Ms. Barker told him on the day of
incident that there was dirt in the planter?

A. | did consider that as well. Whether it's

1 inch of cigarette butts or whether it's dirt, does
mot change anything with regards to my opinions.
Q. In your report did you mention anywhere the
potential that there could be dirt in the planted pot,
as testified to by Deputy Croneiser?

A. Yes. On page 5.

Q. You said - I'm sorry - on page 5?

A. Yes. Second paragraph, there's -- second
paragraph, second to last sentence. I'm sorry.

Q. "More specifically, Deputy Croneiser
testified that Ms. Barker wiped the cigarette in the
dirt, in the planter and then shoved it into that same
dirt"?

A. Correct.

Q. Sowhen reaching your conclusion, you didn't
just factor in that there were cigarettes in the
planter, but also cigarettes in dirt?

A. Correct.

Q. How did you reconcile, if in any way, the

 

 

 
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gonflicting testimony of Ms. Barker in regards to the
contents of the plastic pot?

MR. CASEY: Object to form.
A. |don't consider the testimony to be
conflicting. Ms. Barker testified that there was an
inch of cigarette butts. The information provided by
Deputy Croneiser is not Ms. Baker's testimony. It is
his testimony about what he believes Ms. Barker said.
It is possible that he misunderstood her. | don't know
why there is a discrepancy. But as | mentioned, it
doesn't matter whether it's an inch of cigarettes or
t's dirt with regards to the timeline of events; it
doesn't change anything.
Q. And it's also possible that Deputy
Croneiser's recollection is accurate, in that
Ms. Barker has changed her story or her testimony
differs?

MR. CASEY: Object to form.
A. That is possible, yes.
Q. Why do you, in reaching your conclusion,
choose to conclude as to the former as opposed to the
atter?

MR. CASEY: Object to form.
A. | think I just stated | considered both, and

neither one of those scenarios leads to anything

 

 

 
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different with regards to my conclusions.

Q. And is it also fair to say that in assessing
whether to completely eliminate the possibility of
smoldering a cigarette as the cause of the fire, that
the dirt mentioned here could also have been

misidentified as potting material or other typical soil

st

hat you find inside a potted plants?
MR. CASEY: Object to form.

9 A. | don't have any information in anybody's

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10 testimony that it was potting soil. | have --

11 Q. Well, when you -- I'm sorry.

12 A. | have information that it was dirt,

13 according to Deputy Croneiser, or nothing.

14 Q. So when you see the term -- you would agree
15 with me that there's a difference between dirt and

16 potting soil, correct?

17 A. Correct.

18 Q. And would you agree that from a smoldering
19 scenario, in the determination of a potential cause of
20 afire, that they would have different characteristics
21 that may result in different outcomes? Is that a fair
22 assessment?

23 A. Yes.

24 Q. And that smoldering -- a smoldering fire --
25 and | understand that you dispute that cigarettes are

 

 

 
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unlikely to be the cause. But it is more likely to

have a smoldering cigarette fire in potted soil than
you would in a pot filled simply with dirt?

A. You wouldn't -- | mean, if you're indicating
that the dirt would be the ignition source, the dirt
¢an't burn. Anything that's 80% more mineral content
doesn't burn. Unless we're talking about the butts
themselves. Yes, the potting soil is combustible and
¢an catch on fire.

Q. And dirt, you would say, would not?

A. Correct.

Q. Did you ever consider in your analysis of

this fire that the dirt referred to could, in fact,

nave been potting soil?

A. No, because | have no evidence to suggest
that potting soil was involved.

Q. What was your understanding of the weather on
the day of the fire?

A. | believe it was -- | think | may have

actually included it in my report. Maybe mid 50s and
maybe -- I'm sorry - 7-mile per hour winds, | believe
what was indicated in the local jurisdiction report. |
don't think | put it in my report, but | recall

reviewing it in the Lewis County documents.

Q. What, if any, environmental factors did you

 

 

 
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consider in reaching your conclusion?

A. Which particular conclusion?

Q. The conclusion with regard -- actually, why

don't we head down to your -- why don't we head down to
your actual conclusions.

A. Okay.

Q. | believe they -- Summary of Opinions start

~*~

bn page 16. Perhaps it's probably better to work

+

hrough those before we get to that actual question.
‘m going to start with the fourth -- fourth dot, the
fourth paragraph. You say "Based upon testing of
Exemplar cigarettes, the incident cigarette would have
self-extinguished after 9 minutes."

A. Right.

Q. What do you base that on?

A. So the range within the literature that shows
that the lowest average -- or the lowest burn rate for
a cigarette is 4 millimeters per minute, and the
testing that was done shows that this particular
cigarette, when it is placed on a substrate, which
causes it to have a smaller burning rate, produces
almost equivalent a 4-millimeter per minute burn rate.
Q. But the literature that you're relying upon

to sink up these two scenarios, how is that cigarette

burning in the literature that you're referring to?

 

 

 
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A. So the ranges of 4 millimeters per minute,

ose are cigarettes that are being tested on various
substrates. So whether it be wood, concrete, plastic,
it's looking at how that particular substrate impacts
the rate of burning. And the primary thing that's
happening is it's not able to -- the cigarette is not
able to get entrainment around the entire
circumference, so that's why the burn rate slows down.
Q. And with regard to -- well, you would agree
with me that the subject fire and what we've described
as to the cigarette being inserted into the dirt, at
east one of the scenarios of how this cigarette was
disposed of - you know - is not similar in any way to a
cigarette being burned on a substrate?
A. No. | would say that the cigarette being
burned at a substrate is very conservative, because if
we believe the scenario that the cigarette was inserted
nto the dirt, as Deputy Croneiser indicated in his
analysis, then the cigarette would be not burning at
all. So the scenario that | was evaluating was one in
which the cigarette was not extinguished, which is the
scenario that Mr. Vieau is working with in his opinions
rather than what the testimony has been, which is that
the cigarette was, in fact, extinguished before he

placed it in the pot.

 

 

 
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Q. Fairenough. There wouldn't be any need to

lo any of this, if the assumption was that it could be

amt

£T.

>xtinguished, is that correct?

A. Correct.

Q. But my main concern is not necessarily if
we're dealing with a lit cigarette or extinguished
cigarette. It's what the relevance of the literature

and the testing to this scenario in which we have

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testimony that a potentially -- or we have opinions in

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©

testimony that a potentially still ignited cigarette

—
—_

was -- or still lit cigarette was deposited into a pot

—
NO

that contained cigarettes and dirt, and not just

—
OO

deposited, but pressed into the dirt or pushed down

—
A

nto these items. How does that scenario equate in any

—_=
on

way with the testing on substrates?

=
o

A. Right. So if | were to take a cigarette and

—_
~]

were to orientate it -- let's say the orientation was

=
oo

n the vertical direction as opposed to the horizontal

—
ice)

direction, the literature will show that the burn rates

NO
Oo

are much faster. So the 9 minutes will go down to

NO
—

potentially half of that or less. If! take that same

NO
NO

cigarette and | place it on a substrate like dirt, ina

N
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norizontal position, the literature will show that you

NO
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get that same range, because the main driver behind

NO
on

what's happening is that you are blocking part of the

 

 

 
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circumference that the cigarette has to entrain air and

Pas

hat's why we get these lower rates. The other thing

-—

nat's important in all of this, when it comes to burn

fates and the reason why we see these very consistent

=

anges, is that you can only get to a burn rate that

is -- you know, at some point your burn rate becomes so
slow that the cigarette extinguishes. So there is a
competition happening where you have energy that's
being dissipated to the surroundings and you have
energy that needs to be maintained in the cigarette to
Keep it burning. If the burn rate slows down too much
and that burn rate gets to typically -- it's on the

Order of 1 millimeter per minute, which is below any
documented burn rates for any cigarettes, then you'll
get extinguishment. So | don't know if that answers
your question directly or maybe we need to piece it

Dut.

Q. That's fine. | think we're going to work

pack and piece it through. But the literature that

you're referring to, what literature are you referring

to that supports that?

A. So two sources, Krasney, which | cited the

full article or the full report in my report, and then

the SFPE Handbook, Chapter 19 on Smoldering Combustion,

and that's also cited in my report.

 

 

 
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aokhkwoNhND = COC O ON Oa A wo NO = OO

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Q. And what about Krasney do you think has
relevance to this case?
A. Again, | think what his report shows is that
under various -- so Krasney looked at cigarette burn
rate tests that were done across the world on hundreds
of cigarettes under different types of conditions and
men takes all of that data and summarizes the range of
burn rates that are found and shows that those ranges
are between 4 and 8 millimeters per minute, which is
very close to what we find for these particular
cigarettes.
Q. Okay.
A. And then the Smoldering Combustion chapter in
the handbook talks about what | just mentioned, the
minimum burn rate that's necessary to sustain
combustion.

Q. Did any of those -- does any of that
iterature or any of the literature that reviewed deal
with how cigarettes would behave when they're
communicating with one another, as presented in this
nstance, meaning cigarette next to cigarette, lit
cigarette next to other cigarettes?

MR. CASEY: Object to form.

A. No. | think that that's -- that's not really
the point of why | cite that work. The point of the

 

 

 
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¢alculation in my report is to say Here's the time

frame that we have in order for this ignition source to
ignite something else, for something else to start
happening. And then if we look at the videos that were
provided by Mr. Vieau, what we see actually is
consistent with the other literature that | cited from

Anon, A-N-O-N, is that if you take a bunch of cigarette

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>

butts and you put them in a plastic container, it very

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juickly starts producing smoke and then goes to flaming
10 combustion within 20 to 30 minutes, which is

11 essentially the information that | provided within my

12 feport when | cited the work that Anon did. It's very

13 consistent with exactly what Mr. Vieau's videos that he
14 cited show.

15 Q. Okay. Did you ever consider testing how the
16 cigarettes would -- if the cigarettes were placed

17 together, testing how long it would take for them to

18 manifest into a -- into flame?

19 A. No, | did not perform that test.

20 Q. Is it possible for one cigarette to -- is it

21 possible for these cigarettes, that are lit and placed

22  |nto the planter, to extinguish but then light or

23  |gnite another cigarette?

24 A. | mean, it's certainly possible that ignition

25 of other materials around it could occur, yes.

 

 

 
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Q. So you don't believe that the presence of

dirt, as reported by Croneiser, would affect the heat

oat,

ransport properties or ability to smolder in the dirt?
A. |believe that the presence of dirt can

affect the transfer of properties. As | mentioned, the
way in which it affects it, is it can block the ability

of full air entrainment -- assuming the cigarette is
actually laying flat on the substrate and not in the
open air, it can block the ability of the cigarette to
entrain air, and then what we see in those cases are
ranges that are significantly higher in the ranges that
are provide with the calculations that | did, looking

at if it's on a substrate versus if it's in a situation

of open air.

Q. You rely on the location of the cigarette
burning on a substrate. When a cigarette is ona
substrate, the actual end of the cigarette is not
coming into contact with anything, is that correct, the
putt of the cigarette?

A. If it's laying on a substrate evenly then,

yes, the end of the cigarette is in contact with the
substrate on the bottom of the cigarette.

Q. You're just in the very bottom of the end of
the substrate? It's touching the very end, just on the

small portion of the cigarette, correct?

 

 

 
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A. |mean, the surface that's touching the
substrate is essentially what I'm mentioning when we
talk about air entrainment.

Q. What percentage of the cigarette, | guess,

o_

hen, is touching the substrate?

A. I never mentioned it. | couldn't tell you

fT.

>xactly.

Q. More of the cigarette -- more of the end of

the cigarette is not touching the substrate as opposed
to touching the substrate, correct?

A. Correct.

Q. Was there video taken of the testing that you
performed?

A. No. | took photographs.

Q. You said you did some cigarette dissection.
Talk to me about that.

A. Inthe photographs that | provided in the
report you'll see there's some photographs just looking
at the length of the cigarette overall, from end to

end, and then the portion of the cigarette that's
actually containing the tobacco. So | was looking at
now much of the amount of cigarette actually contains
material that is burning during the smoldering process.
Q. You also say in your Conclusions "Ignition of

other combustibles within the planter would have

 

 

 
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occurred within this 9-minute time frame resulting in
excess smoke production or flaming combustion." How do
you conclude that there would be excess smoke
production in that scenario?

A. So that's based upon the reference that |

provided from Anon. And then also if you review the

—

fideos that Mr. Vieau provided, that show the tests
that were done on the plastic containers, that has the
cigarette butts in them, it shows essentially the same
thing, that once the cigarette is placed in there, you
start to get production smoke, and then within
approximately 20 to 30 minutes it transitions to
flaming.

Q. And where in the -- the Anon study, let's

falk about that briefly. Tell me about that study and
the way in which -- the way in which those cigarettes
were tested, that would lead you to believe that excess
smoke production would be produced.

A. Sure. So] think they provide that exact
anguage, and | may have even cited it in my report.
Let me just pull it up real quick. So what! put in
the report, this is on page 9. It says "In the study
on the ignition of paper materials in trash can by a
it cigarette, Anon found two general trends. First,

the probability of a smoldering cigarette starting a

 

 

 
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PHILADELPHTA INDEMNITY INS CO. vs BARKER Page 65

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fre in paper materials found in a trash can is
extremely unlikely. Second, if a smoldering cigarette

does start the fire within the trash can, fire will

Pont

quickly transition to flaming in about minutes."

Q. And this is testing the things that are
located in a wastepaper -- or in a wastebasket,
correct?
A. Right. So they did a number of different
types of tests. And just to finish answering the first
question you asked, the other part, here, is it talks
about "In cases where a smoldering cigarette led to
flaming ignition in a trash can, visible smoke was
observed from the beginning of the test and visible
flames were observed within 14 to 18 minutes."
Q. And you would agree with me that the Anon
test didn't test how cigarettes would ignite other
cigarettes and how long that would take?
A. No. But as | mentioned, the videos that
Mr. Vieau provided, which I've seen those videos in the
past, essentially show exactly the same thing, that you
get smoke production almost immediately, and then
within 20 to 30 minutes you're seeing visible flames.
The one thing | will add about those tests is that,
Mr. Croneiser, in performing those tests, is using full

ength cigarettes. So the 20 to 30-minute time frame

 

 

 
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actually makes sense; if you take a cigarette that

ry

S -- you know, the entire duration of the cigarette,
basically, is available versus what we're looking at in
this particular case, which is about half, so he gets

about twice the number that | did, looking at how much

oo

ime passed to start flaming combustion.
Q. There is a -- there is a video that was cited

by Mr. Vieau, that did have an hour and an hour and a

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half time frame, | believe it was an hour 25 minutes

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maybe, before flame was determined -- or before flame

—
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was seen in a potted plant, correct?
A. Right. And | feel that there is a

significant amount of confusion on his part with

a
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regards to why you see those different time frames, and

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‘m happy to provide more information.

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Q. Sure. Tell me your understanding.

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a |

A. So the calculations that | provided in the

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materials that | gave you, the one that talks about --

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et me see what | called it. It's density

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calculations. So | wanted to just simply demonstrate

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the difference -- how density plays a role in the

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smoldering process. And the reason why in those videos

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ow

you're seeing some fires happening in short time frames

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and then you're seeing other fires that are happening

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much longer time frames is because you're dealing with

 

 

 
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ne fire that's happening in the short time frame, is

e cigarette butt. The fires that are happening in

e longer time frame, that they're showing in the

ideo, involve potting soil. So what happens in the

molder process is, as you increase the packing density

f the material, then you significantly increase the
smoldering rate -- I'm sorry -- | said -- | meant you
decrease the rate, meaning you increase the time frame
of over which smoldering occurs.
Q. So you're basically saying the more densely
packed it is, the faster -- or the slower it will
smolder?
A. Exactly. Because what's happening is the
neat is essentially burning down into the potting soil
material and you're not able to entrain a significant
amount of air in that scenario, because you're burning
nto the material and your charring and polarizing
(sic) it, so it takes -- it slows down the process and
t takes a much longer period of time for that to then
build up enough heat so that it then transition to
flaming combustion. So I'm not disagreeing that you
can have potting soil fires that can be of a longer
duration. What I'm saying is, based on the facts in
this case, there is no evidence that there was potting

soil, so I'm evaluating cigarettes.

 

 

 
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Q. Fair enough. But we also don't know how

much -- how densely -- and | understand the difference
with the potting soil -- but how densely packed the
cigarette butts, potentially combined with dirt, were

in the subject potting plant?

A. 1|think we do. | mean, Ms. Barker testified
regarding how many cigarettes she smoked per day, how
many times she changed or disregarded the butts since
she had been there in a 10-day period. Mr. Vieau and |
actually agree that the number comes out to be about 60
cigarette butts that would have been in the planter,

which is what he indicated. So if you look at that and
you take the size of the planter, you can calculate the
density. And that's essentially what | did in the
attachment that | provided you. That to me is about 5
times less than the average density of potting soil.

Q. And! do want to go through that in a second.
But when you Say it's 5 times less, is that significant
with regard to smoldering?

A. Yes. It shows exactly what you'll see on a
graph that looks at packing density versus smoldering
rates. So there's been studies, and if needed, | can
pull those and provide those studies. It's also
provided and cited within Chapter 19 of the SFPE

Handbook. But there are also more detailed studies

 

 

 
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that look at how smoldering is impacted by packing

s

lensity, and you see a very seep change occurs. As you

ncrease the density of the material, it takes
significantly longer for -- for smoldering to occur.

Q. Were you able to take the density calculation

—

hat you made on these -- on these -- in these notes,

—_

hese calculations and apply it to how -- it's impact
on the burn rate of a cigarette?
A. Yes. | mean, essentially the purpose of the
calculations that | performed was to show that what
we're seeing in these videos that Mr. Vieau provided
makes complete sense. Right. The videos show - and |
think | marked the times on -- if we need to look at
the exact times I'm referencing in the videos, show
that when you're looking at just the cigarette butts,
you get that 20 to 30 minutes, and when you're looking
at potting soil, you get that much more extended period
of time, into the hours.
Q. What if you have a combination of cigarettes
and potting soil?
A. Soif-

MR. CASEY: Object to form.
A. If you have a lit cigarette, certainly lit
cigarettes are capable of igniting potting soil. I'm

not disputing that.

 

 

 
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Q. When you -- when you did these density
alculations, did you factor in dirt with the
igarettes?

A. No, because dirt -- as | mentioned, dirt is
0% mineral, so the dirt does not burn.

Q. Would it have created -- if it's mixed in
ith the cigarette butts, would that have created a
change in the density of the entire potted plant -- or
the entire materials located in the potted plant?
A. I'm not -- | guess I'm not really sure
exactly how it would have been mixed in. If | were
assuming this testimony about there being dirt in the
planter were true, the cigarette butts -- | mean, she
ndicates that she's discarding them throughout her
time, so | don't know how she -- to me they would be
sitting on top of the dirt, not having mixed -- she
didn't say anything about mixing it in the dirt or
anything like that.
Q. And I guess my -- my belief in why it would
be mixed in is based on the testimony from Deputy
Croneiser, where she says she actually puts it down
nto the dirt when she put out her cigarette, which is
one of the versions of how she may have been
extinguishing cigarettes. So when | read that and see

that, it shows that there is a layer of dirt toward the

 

 

 
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—

op of the plant -- planting pot.

MR. CASEY: Object to form.
A. If the dirt -- if the cigarettes are actually
being covered in some way by the dirt, I'm not seeing
low they would even be able to sustain combustion. So
| guess to answer your question, no, | did not consider

that scenario, because it doesn't even seem to be a

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liable scenario to support any type of combustion

9 condition.

10 Q. And | understand what you're saying with the
11 dirt not being -- with the dirt not being something

12 that contributes or assists with combustion. But I'm

13 taking an overall picture of what may be a pot with

14 more dirt than you're considering dispersed throughout
15 cigarettes, which we do know could support combustion
16 and ignition and whether that changes any of these

17 calculations as to density.

18 A. If -- | mean, | guess | can't even envision

19 what you're describing. But it was not something that
20 | evaluated with regards to density.

21 Q. Fair enough.

22 MR. ZIELINSKI: Why don't we take a
23 quick break. | have to review a few things. I'm
24 sorry | keep having an issue to address at an

25 evidence exam. | don't want to delay this, but

 

 

 
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can we take another 10-minute break.

THE WITNESS: Sure.

MR. ZIELINSKI: Thank you.

( Whereupon, a recess was taken )
EXAMINATION ( Continued )
BY MR. ZIELINSKI:
Q. Allright. We're back on. Dr. McAllister,
I'm going to show you -- and we sort of touched upon
It. | want to look at it a little bit more closely as
to the testimony that you put in to a grid as far as
the event timeline.
A. Okay.
Q. And the earliest time you said Ms. Barker
smoked a cigarette on the patio was approximately
8 o'clock, right?
A. Correct.
Q. And that's based on testimony provided in
discovery, as well as the fire investigator's report?
A. Right. That came from Ms. Barker, her
deposition, as well as Investigator Wydra.
Q. And the similar time, 3:30, came from the
fire -- one of the fire investigator's, is that
correct?
A. The 3:30 time was the latest time that
Ms. Barker had indicated that she had been smoking.

 

 

 
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Q. And generally speaking everyone referred to
times at 3 hours, 3 hours 15 minutes, 3 hours

$0 minutes -- I'm sorry -- 3 o'clock, 3:15, 3:30,
everyone was giving approximations/estimation of the

jeneral time that she either said or told folks that

s

if

she had smoked a cigarette? Meaning they were
approximations and estimates, correct?

A. Correct.

Q. And Ms. Barker testified that she walked
through the patio area twice. What do you base that

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on?

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NO

A. So she indicated in her deposition that she

—
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eft between -- | think it was 4 -- | forget what

—
aA

the -- | don't have her deposition testimony in front

Df me. The time frame of 4 o'clock indicates that's

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when she out to leave the house. In her deposition she

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said she went out, came into the garage, came back out

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of the garage, back in the house and then came back out

—
(ce)

again.

NO
oO

Q. And, again, the number that she generally

NO
—

provided was an approximate round number of 4 o'clock,

NO
NO

correct?
A. Correct.

Q. But there's no video evidence of when she,

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specifically, passed through that time? It's based on

 

 

 
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her recollection of events, correct?
A. Correct.
Q. And then you have the timeline of Ms. Currey

=

eports fire to 911 at 4:57 p.m., correct?

A. Correct.

Q. And that's based on Ms. Currey's testimony
and the fire report of when 911 was called, correct?
A. Yes.

Q. And it's your understanding that at 4:57,

ny

that's when the fire is essentially engulfing the back
batio of the property, is that correct?

A. Well, the initial observation -- right. So

at the time that it's called in, | believe Ms. Currey's

testimony was that she was seeing flames, but her
nitial observation is smoke.

Q. But she resided across the street, correct?

A. Yes.

Q. And to see smoke and then shortly thereafter
flames, would you agree with me that at that point
tems on the patio -- items on the patio are fully
nvolved in fire?

A. |would agree that the fire was well
developed at that point. | don't know if | can speak
specifically to what items on the patio were burning.

Q. Did you perform any analysis in this case as

 

 

 
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, if the fire started in the potted plant and
anifested itself in to flame, how long it might take
ignite other nearby combustibles and get in to the

evelopmental stage that you spoke about, that

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5 Ms. Currey may have identified?
6 A. Actually in response -- or in consideration

7 of what Mr. Vieau had testified in his deposition -- or
8 after reviewing his deposition, one of the things that

9 te indicated was that he believed the tarp to be the
10 ext item ignited from the fire in the pot. So | did

11 Jook at the repetitive of which -- or the spread rate

12 that the flame would travel on the tarp. So the

13 |iterature shows that the rate of combustion -- the

14 fate of flames spread across the thin fuel in the

15 vertical orientation is approximately 1 inch per

16 second. So what that basically means is that you would
17 spread from the bottom of the tarp to the top of the
18 oof structure of the overhang, across the patio within
19 afew minutes.

20 Q. And when you say 1 inch per -- I'm sorry --
21 ‘fl inch per, what was the last part?

22 A. Per second.

23 Q. How long would that take for the tarp to be
24 consumed once it was ignited, based on your

25 calculation?

 

 

 
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A. So that would be a few minutes. Between one

and a half and 2 minutes to go from the bottom of the

—

arp to the top of the tarp.

Q. And then at that point the fire would

progress into the overhang, correct?

A. Correct.

Q. And do you have any understanding or
testimony today that you could provide as to what would
occur if fire had initially attacked that overhang

from the tarp that was ignited?

A. | did not do any further calculations beyond
that. My interest was in understanding, based on

Mr. Vieau's testimony, about how he believed the fire
spread, how long it would take for it to spread - you
know - from the bottom of the tarp to the top of the
arp.

Q. You're familiar with the Ignition Handbook?
A. Yes.

Q. And Ihave the entire Ignition Handbook in
there, but it's probably pointless to go into. But

since you are familiar with the Ignition Handbook, I'm
going to show you -- or we're going to mark what's been
marked as Chapter 14 of the Ignition Handbook. It
starts on page 716.

MR. ZIELINSKI: We'll mark that as

 

 

 
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Exhibit 2.

( McAllister Exhibit 2

marked for Identification )
Q. Do you see that?
A. Yes.
Q. We talked earlier about you -- | believe it
was the -- that you relied on Krasney and Anon and
specifically with regard to how cigarettes burn or
might ignite materials that would be in a wastebasket,
correct?
A. Well, Krasney is just looking at the burn
rates of cigarettes.
Q. Right. Right. Sorry. So it would be Anon,
correct?
A. Correct.
Q. And that talks about the time it would take
to ignite materials and the ability to ignite materials
that are commonly found inside the wastebasket, is that
correct?
A. Correct.
Q. And it's fair to say that Anon is a
significant treatise that you're really upon in
reaching your concussions in this case, is that
correct?

A. No. | mean, | think I'm relying upon the

 

 

 
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¢alculations that | did, even using the videos that

Mr. Vieau produced, which | think further validates
Anon's research, but are specific to cigarette butts.

Q. Have you ever relied on the Ignition Handbook
in reaching expert -- or reaching conclusions as an
expert in fire investigations?

A. Yes.

Q. And what have you used the Ignition Handbook

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9 for in reliance?
10 A. It's voluminous and contains -- | couldn't
11 fell you what specific material | utilized it for.
12 Q. But it's acommon - it's a common -- it's a
13 common -- it's a common document that's referred upon
14 py yourself and other fire investigators in the field,
15 correct?
16 A. Yes, | believe so.
17 Q. Soin your report you've concluded that in
18 Cases where a smoldering cigarette lit, the flaming
19 /gnition in a trash can, visible smoke was beginning of
20 test and visible flames were observed within 14 to
21 {18 minutes, correct?
22 A. Correct.
23 Q. And you get that from -- and that is a source
24 that you get from Anon, correct?
25 A. Correct.

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER Page 79

JAMIE MCALLISTER, Ph.D., 11/11/2020

 

Q. I'm going to show you what we've had marked
here with regard to referencing that Anon --
similarities in that Anon claim. I'm just going to

find what | want here. Page 718. So we'd start in the
bottom left-hand column.

A. Okay.

Q. Where it says "The effectiveness of

cy

igarettes as ignition sources for wastepaper baskets

—

has been examined. For wastebaskets filled with paper,
snack wrappers, fast food bags and polystyrene foam
coffee cups, ignitions were not observed." And you

would agree that that's essentially citing the Anon

study that you referenced, correct?
A. Correct.
Q. I'll continue. "Oily paper towels turned out

to be ignitable, but out of a total of 300 tests of

dropping cigarettes in the wastebaskets, flaming

occurred in only occurred in 5 instances. The times

the flaming ranged from 14 to 18 minutes." Again,

that's the Anon study, correct?

A. Correct.

Q. The Ignition Handbook then goes on to

reference "A German study provided more comprehensive
results (Table 22) - which is to the left - "but the

results were based on 12 to 15 trials. In fact, much

 

 

 
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JAMIE MCALLISTER. PA.D., 11/11/2020 mage ws
1 longer ignition times have been observed in real fires.
2 Figure 20 shows documentation of a fire that occurred
3 due to cigarette disposal in a rubbish container. The
4 time between the last human activity at the place of
5  grigin and the eruption of flaming was 192 minutes.
6 Some additional research is discussed under Paper
7 products." Did you consult this aspect of the Ignition
8 Handbook before you reached your conclusions in this
9 g¢ase?
10 A. No, | did not.
11 Q. And were you aware that the Ignition Handbook
12 had cited some field observations that may have been
13 contrary to some of the laboratory testing cited in
14 Anon and other articles?
15 A. Ihave no records to review, so | can't say
16 that they're contrary to what Anon found. I'd need to
17 review the paper - you know - what specific conditions
18 were tested.
19 Q. Fair enough. But would you agree that the
20 |gnition Handbook, here, is essentially trying to point
21 |nvestigators and fire experts in the direction that
22 all of what is found with regard to the laboratory
23 testing of ignition times, that is attempted to have
24 heen replicated? It's not necessarily what may be
25 occurring in the field?

 

 

 
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JAMIE MCALLISTER, Ph.D., 11/11/2020

 

MR. CASEY: Object to form.

A. Can you repeat the question?
MR. ZIELINSKI: Read it back, please.
( Question read )

Q. I'llrephrase. In reading that aspect, that

The time between the last human activity at the place

br origin and the eruption of flaming was 192 minutes."

fy.

Why do you think the Ignition Handbook is citing this

field observation in a segment devoted to ignition

times that come from lab testings found in Anon?
MR. CASEY: Object to form.

A. | don't know. I'm not able to answer that

question.

Q. Do you have any experience with any sort of

testing that -- sometimes that laboratory testing is

not necessarily able to replicate what occurs or what

can happen in the field?

A. |mean, there are ways in which a laboratory

test may not capture all of the various, different

aspects of what may have happened. | mean, that's why

t's important to have sufficient data about what

actually happened in a particular incident, in order

to -- if you're going to attempt to recreate what you

believe occurred.

Q. You talked about, in your report, that

 

 

 
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s. Barker walked past the planter multiple times as
she prepared to leave, approximately a half hour to
1 hour after the discarded cigarette and that she
didn't see flames or smell smoke coming from the
planter at any time. That's consistent with your
ronclusion?

A. Yes.

Q. Based on your review of the evidence, how

oo

many times do you believe Ms. Barker walk past the
subject planter?

A. She indicates 3 times.

Q. And would one of those 3 times be right after
she extinguishes the cigarette?

A. No. She testified that she smoked her last
cigarette, went inside, read a book and then left the
nouse at 4 o'clock. So the 3 times would be her
eaving to go to the garage, her coming from the garage
and going back inside and then her coming back out
again to go to her car.

Q. And it's your conclusion that any sort of
smoldering fire would not go unnoticed by someone?
A. Within that period of time and based upon,
again, the videos that Mr. Vieau had provided, as well
as the information contained within Anon, talks about

production of smoke being immediate and the flame

 

 

 
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occurring within the 14 to 17 minutes, yes, | believe
that it probable that she would have smelled smoke
and/or seen smoke and flames.

Q. Is it possible for someone who smokes as

1
2
3
4
5 frequent as Ms. Barker does in that area, that the
6 lingering smell of smoke - you know - on Ms. Barker's

¢ person, in that general area could mask the odor of

8 unintended combustion in a flower pot?

9 A. So the material that's burning here is the

10 Cigarette material, as well as the butt of the

11 Cigarette. It's a different type of smell than regular

12 hicotine burning. So it's not exactly the same type of

13 smell. So my answer would be -- I'm trying to remember
14 the exact question. | think my answer to your question
15 would be that, no, her being a smoker wouldn't mask or
16 smell something burning. In fact, she indicated in her

17 deposition that she had smelled something burning. A
18 week or a couple days prior to this incident, she was

19 jnside her house and smelled something burning outside.
20 Q. And does the absence of physical flames or a

21 smoke odor, to the extent there may have been one,

22 preclude a smoldering fire from existing?

23 A. Can you rephrase it? I'm not quite sure |

24 understand your question.

25 Q. Is it your testimony, based on your

 

 

 
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inderstanding, that at 20 to 30 minutes there would
have been visible flame coming from the flower pot?
A. Yes.
Q. It would have been most likely that visible
ame would have been coming from the flower pot?
A. As well as smoke. Both.
Q. Had you ever done -- have you ever

investigated any fires that involved a flower pot,

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prior to this one?

—
©

A. Not that | recall, no.

—_>
—_

Q. And do you -- in your review of this file,

—
NO

Hid you get an understanding as to the depth of this

—
oO

flower pot? Was that factored into your density

—
aS

calculations?

—
o1

A. No. The depth is related to how dense the

—
Oo)

material is packed.

—
~

Q. So when we did -- when you did the density

—
CO

calculations, the depth of the flower pot would not

=
co

matter at all?

NO
oO

A. The depth of a flower pot wouldn't, no. But

NO
=

density calculations do include the 1 inch of cigarette

NO
NO

butts that Ms. Barker indicated were in the planter.

NO
w

So that's just, basically, in order to get an idea of

what the volume is that the material is distributed

N ND
ao

OVEr.

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER Page 85

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Q. Now, given that it was likely an estimate of

1 inch, by Ms. Barker as to how much cigarettes were in

_—

nat, would the density calculation change in any way
if there was, in fact, 2 inches of cigarettes inside

he potted plant?

A. No. Because it's driven by weight. So the

nore cigarettes that are in there -- so if there's --

=

go if there is a larger depth of cigarettes, | mean,

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cr

there is more cigarette butts associated with that

—
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depth. So it would, actually, just scale.

—_
—_

Q. What do you mean by just scale?

—
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A. So you're not really changing anything. In

—
wo

other words, you -- in order for it to become more

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dense, you would have to take the same 1 inch area and

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ao

somehow pack it down or push down all of the cigarettes

=
oO

to compress them.

—_
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Q. Soit's not necessarily a mound? It's how

—
Cc

they're packed?

—
co

A. Exactly.

NO
Oo

Q. Did you get any sense, from reviewing the

NO
—

deposition transcript or the transcripts of others, who

NO
NO

spoke to Ms. Barker as to how these cigarettes were

NO
w

packed?

NO
A

A. She did not indicate that she pressed them

i)
on

down. So the calculations for density would be -- that

 

 

 
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| performed would be pretty conservative. They assume,
essentially, that if you were to take a cigarette and,

let's say, light it up so there's no air space

whatsoever, that's the density, basically looking at

the weight of the cigarette and the amount of area that

it occupies. In reality, when people are just throwing

cigarette butts into containers, they're kind --

oN DO NO BR WO DY =

they're scattered about. So the calculation |

9 performed would be more conservative.

10 Q. Andso when you say it's conservative, did
11 that factor in the fact that she may be pushing the
12 cigarette butt -- or half of the cigarette, as she

13 described it, into the potted plant?

14 A. Unless she's literally taking her hands and
15 compacting down all of the cigarette butts, then it's
16 fot going to change the density.

17 Q. Okay. And, basically, just so we can put a
18 pow on this, but whether it was 1 inch of cigarettes or
19 8 inches of cigarettes, it wouldn't change the density
20 calculation?

21 A. No. Because, again, if it's 3 inches, that

22 means there's more cigarette butts, so it would just
23 scale -- it would just scale accordingly and it

24 wouldn't change that number.

25 Q. Now, when you are dealing with burn rates and

 

 

 
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the testing that you relied upon, like the Anon test or
the Anon literature, none of those tests were performed
outdoors, is that correct?

A. Correct.

Q. Do you believe that the fact that this fire
occurred on a patio, outside, would have any way

mpacted the burn rate and/or the length of time --

vell, actually let's start with burn rates. Would it

Oo ODN Oo BW DY =
=<

have impacted the burn rates?

—
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A. |want to make sure | understand your

—_
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question, because you mentioned Anon and then burn

—
NO

rates. Are we talking about the burn rates of

—
oO

cigarettes? Is that what you're asking me?

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aN

Q. Fair enough. Fair enough. And | jumped the

—
o1

gun there. Yes. Let's talk about what affected the

—
Oo)

burn rates, period.

—_
~]

A. Okay. So then I'm going to modify my

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previous answer. Krasney's work did look at the impact

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oO

of environmental conditions on burn rates. They

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ooked -- so that range that | provided considers what

NO
—

happens if there's what's called forced conduction,

NO
NO

where there is a wind condition that is causing the

NO
Ww

acceleration of the burn rate, what happens when the

NO
AK

air around it just basically stagnant, what happens if

NO
on

we put it vertical, horizontal. All of those types of

 

 

 
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oa fF WwW DY |= CO oO WAN DO ON KR WO DY |= OO

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things are considered in the work that he summarized in

his report. So with regards to the outside

environment, in this particular case, according to

Ms. Barker she's placing it inside the pot and there's

an inch of cigarettes at the bottom, there's no air

entrainment that's occurring there; as far as the wind

is it going to be significantly impacting what's

happening at the bottom of the pot. Now, to the extent

that we assume that it did, that would only increase

the burn rate, not decrease it.

Q. How about the humidity with regard to the

weather and potential dryness of the dirt or dryness of

the materials found within the potted plant?

A. The dirt itself, again, is not combustible,

50 the moisture content of the dirt wouldn't play a

role in the cigarettes -- in the impact it has on the

cigarettes. | mean, | suppose if the dirt were very

moist, it would, actually, probably cause the cigarette

to go out, because too much moisture touching the paper

material on the cigarette would make it wet and cause

t to extinguish.

Q. | want to mark your calculations as Exhibits.
MR. ZIELINSKI: | don't know if we got

the chance, Brian, to -- we can forward it to the

stenographer after this.

 

 

 
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Q. Let's actually go with -- let's look at the
burn rates real quick, the burn rate notes that you
have.
MR. ZIELINSKI: We'll mark that -- it's
Burn Rates, when we're marking this for the
transcript, and we'll mark that as McAllister 3.
( McAllister 3 marked

for Identification )

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Q. This is the one page of notes that you marked

—
©

pr labeled as Burn Rates. And you noted the -- you

—
—

noted the temperature and calm winds in the right-hand

—
NO

corner, correct?
A. Correct.

Q. And that was at the scene of the fire,

= | Uk
oo KR ow

correct?

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oO

A. No. That's -- this is the testing that was

—
~“

done.
Q. Okay.
A. So this is the conditions on the day that the

No =|. —_
oOo Oo @

testing was done.

NO
—

Q. Is that the temperature in your garage or you

NO
NO

were doing it outside?

NO
Ww

A. Right. So that was the temperature that was

NO
&

within -- essentially directly outside of the garage

NO
or

Area.

 

 

 
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PHILADELPHIA INDEMNITY INS CO. vs BARKER Page 90

JAMIE MCALLISTER, Ph.D., 11/11/2020

 

Q. But the test itself was inside of the garage?
A. No. It was right outside of it, because |

didn't want the cigarette smoke smell.

Q. Okay. Fair enough. And so these are
essentially -- what are you taking notes of here? The
times for each burn rate?

A. Right. So this is the time from beginning to
end of test. So this is essentially the raw data that
then is used or reported within my report.

Q. And is this essentially the only notes that

you took during the testing?
A. Yes.
Q. Okay.

A. Other than the photographs.
Q. Right. Fair enough. All right. And then
the other document which | was more interested in is
the Density Calculations.

MR. ZIELINSKI: We'll mark that as
McAllister 4.

( McAllister Exhibit 4

marked for Identification )
EXAMINATION ( Continued )
BY MR. ZIELINSKI:
Q. We sort of discussed this, but | want to go

ine by line, so the record is clear. So you say

 

 

 
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anh WD DY |= CO O WON OD OM KR WD DH “= OO

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10 days times 20 cigarettes per day equals 200
cigarettes divided by 3. That's essentially coming to
the conclusion that there was likely 67 cigarettes
lisposed of in the potted planter at the time of the
fire?

A. Correct.

Q. Okay. And that's based on Ms. Barker's
estimony?

A. Yes.

Q. And you will agree with me that she didn't

cy

=

Know exactly when the last time she disposed of or
emptied that potted planter, correct?

A. Correct.

Q. So this is more of an estimation, based on --
pased on when she may have last emptied the potted
plant?

A. Right. Mr. Vieau says in his deposition 50

to 60, so | gave them a couple more based on what she
Said, and seems fo line up with what his report says as
well.

Q. And then it says "Planter diameter equals

5 inches depth equals 1 inch cigarettes." Where did
you get the planter diameter from?

A. That was from Ms. Barker's deposition

testimony.

 

 

 
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Q. And so the depth, again, you put 1 inch of
cigarettes, but you don't know the depth of the actual
planter?

A. Right.

Q. Would the depth of the actual planter matter
for how long it may take for the nearby tarp to become
ignited?

A. It could have some minor impact on it. |
mean, if the depth is too low, then the flames aren't
going to be able to be high enough in order to impact
the planter.

Q. You then put "Volume equals" -- well, I'll
et you -- Volume equals what here?

A. That's just the Volume Calculation. So if
you take the 6 inch diameter planter, 1 inch depth,
that's the volume you have, the cylindrical volume.

Q. And then you say "Cigarettes equal 1 gram."
What is that based on?

A. So that is the weight of an average

cigarette. And, actually, | noticed in the chapter

that you -- we were just discussing, the -- the 1 gram

s the average weight of a cigarette. Itis also

mentioned in the chapter that we were just reviewing,
Chapter 14, from Babraukas, the name of the author, his

gnition Handbook. And the spelling is

 

 

 
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B-A-B-R-A-U-K-A-S.

Q. And then the -- so then essentially what
you're trying to achieve is what the weight and grams
of the cigarettes that you believe were -- could have
been in the potted plant at the time of incident?

A. Right. Right. So then it's just a matter of

aking the weight of the cigarettes over the volume in

CoO NO ON KR W DY =
ft Fam val

os

brder to get the density.

9 Q. And then you put in the average potting soil
10 density. Where did you get that information from?
11 A. Sol went online and researched a couple of
12 different manufacturers, and that is their other

13 product data sheets, that's the average range that you
14 get for density.

15 Q. Andis that why you then say 5 times?

16 A. Right.

17 Q. Other than this calculation, did you do any
18 other calculations?

19 A. | mean, we -- | mentioned to you the flame
20 spread rate on the tarp; that wasn't a calculation |

21 wrote out. It's something | did in my head.

22 Q. Did you do that before you wrote your report
23 or did you do that in preparation for today?

24 A. That was in response to the rebuttal and

25 deposition review.

 

 

 
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anh WO NYO |= OO O DO NI OO ON A oOo NO =~ O

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Q. While we're looking inside of the folder - |
didn't get a chance to look at this before - you have
four invoices listed. We can mark them all together as
McAllister 5.

( McAllister Exhibit 5

marked for Identification )

EXAMINATION ( Continued )

BY MR. ZIELINSKI:

Q. We had discussed earlier when you were first
retained, and it appears that on July 28th, 2020 you
received a $5,000 or you billed for -- or were paid for
a $5,000 retainer, is that correct?

A. Correct.

Q. Does that in any way -- and the date is

July 28th. Does that in any way refresh your memory as
to when you were first retained and brought in to this
matter?

A. Yes. So it -- | don't think that's the exact

date. But that would certainly be around the time
frame, give or take maybe a week, of when we were first
asked to get involved in the case.

Q. Back to your Conclusions. This is now on
page 17. Where you say "The timeline of events and
witness observations is inconsistent with a hypothesis

that a carelessly discarded cigarette caused the fire."

 

 

 
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bo you see that?

A. Yes.

Q. And then you go on to say "The carelessly
discarded cigarette hypothesis must be rejected because
it is inconsistent with the facts of this case and
known scientific and engineering principles." Do you
gee that?

A. Yes.

Q. Can you specify which facts the scenario is
nconsistent with?

A. So the timeline with regards to when the
cigarette was last smoked and when Ms. Barker is
walking through the area, when the fire is discovered.
Q. And you say -- when you say "known
engineering principles," which engineering principles
s it inconsistent with? Just -- well, I'll let you
answer that.

A. Smoldering combustible principles, burn
rates, point spread. The other thing, too, | would
add, is that consistent with what the local
jurisdiction investigators concluded, | would also
agree that another reason why this theory is
nconsistent with the facts of the case is because
Ms. Barker indicated that she extinguished the

cigarette.

 

 

 
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Q. Have you ever experienced -- have you ever

nvestigated fires and been part of fires where the

suspected cigarette -- where you determined that a
cigarette was the cause of the fire, despite a witness

saying that they didn't smoke or if they extinguished a

oy

tigarette properly?
MR. CASEY: Object to form.

A. None that come to mind, as | sit here today.

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fat

Q. So as you sit here today, you've never opined

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n any case that a cigarette was a cause of a fire,

when someone who was the defendant in that case denied

— =
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being responsible for improperly extinguishing a

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oOo

cigarette?
A. No. What said is | do not recall as | sit

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a

nere today. I'm not saying it's not possible. But

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om

offer the last 20 years | don't -- | don't catalog

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things in my memory --

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Q. You've been a part of cases in the past where

—
co

witnesses have provided -- have provided untruthful

NO
Oo

statements, is that a fair assessment?
A. Yes.
MR. CASEY: Object to form.

Q. Have you been part of cases in the past where

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witnesses have provided information and testimony that

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on

was self-serving or beneficial to them?

 

 

 
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1 MR. CASEY: Object to form.

2 A. Yes.

3 Q. In analyzing this case, did you consider the

4 fact that Ms. Barker may have believed she properly
5 @xtinguished it, but that she may, in fact, did not?

6 A. Absolutely. That is, in fact -- | mean, the

7 (Cause section of my report assumes that she -- what if
8 she didn't, let's test that hypothesis and see where we
9 get to.
10 MR. ZIELINSKI: Why don't we take a 10
11 minute break. | don't have much more. | just
12 want to go through some things.
13 THE WITNESS: Okay.
14 MR. ZIELINSKI: Is that all right with
15 you, Brian?
16 MR. CASEY: Yes. That's fine.
17 ( Whereupon, a recess was taken )

18 EXAMINATION ( Continued )

19 BY MR. ZIELINSKI:

20 Q. Dr. McAllister, just in reviewing your report

21 and going through the Density Calculations, is there a
22 feason why - and tell me if I'm missing it - that you

23 didn't cite the density calculations or anything that

24 we discussed in those terms in your actual report?

25 A. These are prepared in response to Mr. Vieau's

 

 

 
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rebuttal and his deposition. There was no indication

in Mr. Vieau's original report that he believed that

+

here was potting soil within the planter. So this was
an analysis that was done in response to that.

Q. And when you say "done in response to that,"
what about the potting soil made you do this density
calculation?

A. So| felt like there was some confusion on

his part in understanding why you get significantly
different smoldering periods when you have just
cigarette butts versus when you might have potting
soil. He seems to be conflating the two things as if
they're one and the same. So the purpose of the
density calculations was simply to explain from the
scientific standpoint why these two types of scenarios
are different, the scenario where you just have
cigarette butts versus the scenario where you may also
nave potting soil involved.

Q._ Is there any -- and perhaps you said this
earlier. But just to be clear, is there any data that
you relied on, that you can point me to, that shows how
cigarettes function with regard to the specific density
calculation that you came up with? Is there a
scientific measure of that?

A. I'm not sure when you say how they function.

 

 

 
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Can you be more specific?

Q. Yes. | guess when we talked about -- we
talked about the density calculation, obviously your
conclusion shows that the density is -- if we just have

dotting soil versus we just have cigarettes, it's 5

se

imes greater. You list it as 73 kilograms, right?

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“r.

A. Right.
Q. As the density?
A. Yes.

—
©

Q. Is there any literature that ties in to

—_—
—_

specifically how a cigarette would perform in 73 -- in

—
NO

something that has the density of 73 kilograms or

—
Ow

around that obviously, not precise?

—
NR

A. There are -- not specifically to cigarettes.

—
or

As | mentioned there's literature that looks at how

—
Oo)

Hensity impacts smoldering rates. The thing that | had

—_
~]

mentioned before, that I'm pointing to, that kind of

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explains this in a visual sense, is the videos that

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oO

Mr. Vieau provided, as well as the testing that's done

NO
oO

by Anon, that talks about how much time it takes before

NO
—

you get to flaming for something that's not dense

NO
1)

versus something that's very dense, like potting soil.

NO
Ww

Q. And would you agree with me that if the dirt

NO
t

that was discussed previously would have been

NO
on

dentified as potting soil, would that have changed

 

 

 
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this calculation in any way?
MR. CASEY: Object to form.
A. It wouldn't have changed the calculation. As

| mentioned before, | don't disagree that potting soil

is capable of igniting and that it's capable of

 

moldering for longer periods of time. So it doesn't
impact the density calculation, so to speak. | mean,
ey're not related.

Q._ If there was -- again, | know no one has
testified to this. So if there was -- if there was
potting soil -- let's just say for a minute that the
planter was half filled with potting soil and a person
was putting cigarettes into that potting soil - you
Know - when they said they put the cigarette in, they
would actually hit potting soil and hit that surface,
would that have changed your -- wouldn't that change
the density and the density calculation that you did?

MR. CASEY: Object to form.

A. No. The density calculation is, again,
simply looking at the difference between if we had only
cigarettes versus if we have potting soil. It's
ooking at the rate at which smoldering occurs within
the materials that are actually burning.
Q. And! guess what I'm saying is, if it's not

as black and white as cigarettes versus potting soil

 

 

 
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and we have a mixture of cigarettes and potting soil,
¢an this density application then apply?
A. So if it were a mixture, then | would have to
Know more information about the exact mixture
composition.
Q. Andis it fair to say, based on the
conflicting testimony that we have in this case, that
i's not precisely known what was in that potted
planter at the time of this incident?

MR. CASEY: Object to form.
A. So it's -- as | mentioned before, | don't
believe that we have conflicting testimony. What we
nave is sworn testimony from Ms. Barker and then we
nave secondhand testimony from other individuals.
That's not the same as Ms. Barker saying two different
things - you know - her physically testifying or
writing a statement which indicates two different
things.
Q. Sol guess what I'm saying is, so you're
basically taking what Ms. Barker says at her deposition
s what -- most probably what occurred or took place or
was located inside that planter?
A. That, and | also considered the idea that
there be could have been dirt, and neither one of those

two things changed my opinion.

 

 

 
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Q. And again we're dealing with people's
recollection of what may have been -- or one person's
recollection of what may have been in a planter that
essentially was used to discard cigarettes, correct?

A. Correct.

Q. And not -- you know, | think it goes without

ify.

saying, but I'll lay the foundation for it. Witnesses
observations aren't always accurate or people don't
mecessarily even take the time to fully understand
everything that may be contained in a particular
planter?

MR. CASEY: Object to form.
A. Correct.
Q. Sol guess, would this opinion change, if for
whatever reason there were leaves or other debris
nside of this potting plant, that Ms. Barker may not
nave recalled had been in there or had blown in there?
Would that have changed any of this analysis, from your
prospective?

MR. CASEY: Object to form.
A. | didn't specifically analyze that, so |
can't tell you without going back, looking at it,
seeing how it sits within the timeline of events. |
mean, | utilize and analyze things based on scientific

processes, relying upon known facts and data.

 

 

 
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Q. But you'd have to agree that when you're
doing such an analysis, that the known facts,

specially in an instance like this, where we're

£Ty

lealing with human recollection of a potted plant or a

iy.

potted planter, that those facts and data may not be
100 percent accurate?
A. The facts and data have to be considered

vithin the context of events. It is possible that

—

people may not recall everything. But! most certainly
can't make things up. | can't say that something was
there if | have no basis to indicate that it was.

Q. No. Fairenough. And | get that. And I'm
not saying that's what should have been done here. |
guess my suggestion is, you're basically saying that
the timeline proposed is incapable of occurring as it

s stated. And to do so, | just want to -- when I'm
asking you questions about the variables, | guess my
question ultimately becomes, do variables -- if
Variables were different with regard to items that were
n the potted plant, would say that potentially change
your timeline?

A. Sure. What it means is that | would have to
re-evaluate my hypothesis based on that date -- that
new data or information of facts. It would have to be

tested against that information.

 

 

 
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Q. And have you ever had experience with
smoldering fires, where items were -- items were --
where a fire smoldered for a period of hours?

A. Inthe cases that | recall, | don't recall

anything smoldering for periods of hours, with the

fy.

mh

>xception of self-heating cases. | mean, in

if

self-heating, which is a different type of phenomenon

with smoldering, those can last for hours. If we're

oo

alking specifically about cigarettes or things ignited
by cigarettes, no.
Q. And in this instance we're not talking about
nours? We're talking somewhere between an hour and a
nalf and 2 hours maximum before we have a fully
nvolved structure fire, correct?

A. Correct.

Q. And in the calculation -- and | know we
talked about Ms. Barker walking back and forth. We can
get in to that if that exists within your answer. My
question is, have you done any calculations as to when
flame would first appear under this scenario and how
quickly you would have a fully involved structure fire?
A. Not between those two points. | feel like
there were two questions in what you just asked me.
Yes, | have done calculations or presented data within

my report to indicate when flame would appear, but not

 

 

 
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calculation beyond what we talked about with this

spread on the tarp, to show when all of the area in the

back would be on fire.

Q. You did calculations with regard to how
juickly flame would appear. Did you do any calculation
or how long flame would sustain?

A. Sustain on what?

Q. Sustain within the potted planter?

A. No.

Q. Would you be able to do calculations that's
would provide a timeline for that?

A. If we're talking about sustain within the
cigarette butt material? | guess | don't really
Know -- what are we talking about burning or
calculating the cigarette -- -

Q. I guess that's what we have right now. |'ll
start with that. Sustained within the 67 cigarettes
that we've calculated would exist within the potted
plant?

A. That's a calculation that could be done.

Q. Do you have a general sense of what the
putcome of that calculation would be?

A. |do not.

Q. Because we also have to factor in the

timeline of this entire process is -- you know -- how

 

 

 
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ong a flame may have -- if a flame did occur within

—

he potted plant, how long that flame may have been

maintained within the potted plant before igniting the

—_—

arp. Would you agree with that?

A. Yes.

Q. As part of this series of events here, is

that correct?

A. Correct.

Q. Have you ever given a presentation with
regard to cigarette and cigarette-related fires?

A. Not that | recall.

Q. Have you ever written any articles or any
publications with regard to cigarettes and cigarette
fires?

A. Not that! recall.

Q. How about presentations in any way that had
to do with smoldering fires?

A. Yes.

Q. When | say -- and | know that probably ticked
off a bigger box than the cigarette question. But
generally speaking, what presentation do you recall
that dealt with smoldering fires?

A. Sol teach a class at the National Fire
Academy on fire dynamics, and that covers various types

pf stages of combustion, different types of flaming

 

 

 
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fires, smoldering fires. And actually -- you should
gay -- when it comes to your question about

publications, | mean for sure there's discussion about

rh

smoldering fires and the types of materials, smoke and

ff.

;0 forth that are produced in smoldering fires within

ny chapter in the SFPE Handbook. So, | guess, to some

=

éxtent I've written about smoldering fires and taught
¢lasses regarding smoldering fires as well.

Q. The classes that you taught with regard to
smolders fires, was that -- would those have been video
recorded? Do you have any slides or anything like
that? Is there any -- is there any recording of any

Kind of those presentations?

A. The NFA classes are-- there's slide Deck,
D-E-C-K, material, so that would be contained within
there. There are not videotaped courses. With regards
to other classes that | would have taught, that would
nave included any discussions about smoldering
combustion that are videotaped, the class | teach for
the University of Maryland, that probably -- they're --
mean, they're videotapes whether they still exist, |
don't know where those live. And then | also used to
teach an advanced fire dynamics class at EKU, and most
of those lectures, because they're online programs,

those are videotaped.

 

 

 
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Q. The three literature that you rely upon here

in your opinion, do you have any recollection about

cy.

iting any of those in any of your presentations that

you did?

A. It probably wouldn't have been cited in the
presentation necessarily, no.

Q. Would you have used contents from any of them
in the presentations?

A. The SFPE Handbook chapter on the smoldering
combustion would have included contents from -- or the
presentation would have included contents from that
chapter.

Q. Would you have access to some of those
videotape recordings or would they -- for example, for
the University of Maryland, would that be with the
university?

A. Sol don't know what happened -- the one for
EKU, | would no longer have access to, because | don't
teach for them any longer. The ones for University of
Maryland, they change -- as we have new classes, |
don't know if | can access older ones, so I'd have to

go in and see.

Q. Ido not believe | have any more questions

for you. Thank you for your time. | appreciate it.

MR. CASEY: We would like to read and

 

 

 
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sign.

MR. ZIELINSKI: Etran please.

MR. CASEY: Whatever we did for Dan
Vieau, | think we should do.

MR. ZIELINSKI: We'll do what we've been
doing.

MR. CASEY: | don't care. If! have to
pay, I'll be. If you want to do it the New York

way --

( Whereupon, the Examination concluded )
(End Time: 2:36 p.m. )

-000-

 

 

 
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CERTIFICATE

| HEREBY CERTIFY, that] have read pages __to
and including page __and that the same constitutes
a true and accurate transcript of the testimony given

by me, under oath, at the time and place indicated

herein.

 

JAMIE MCALLISTER, Ph.D.

Subscribed and sworn to before me
this day of , 2020.

 

NOTARY PUBLIC
My Commission expires the 13th day of February
2022.

 

 

 
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h

CERTIFICATE

|, JACLYN B. CONTE, a Shorthand Reporter and
Notary Public in and for the State of New York, DO
HEREBY CERTIFY that the foregoing is a true and correct
transcript of my shorthand notes in the above-entitled

matter

Date: November 16, 2020

 

JACLYN B. CONTE,
COURT REPORTER.

 

 

 
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EXHIBIT

 

FireTox

168 West Main Street # 422, New Market, MD 21774 Tel: (301) 580-1181 www,firetox.com

 

ANALYSIS OF THE FIRE WHICH OCCURRED ON APRIL 6, 2019 AT 5398
HEMLOCK DRIVE IN LOWVILLE, NEW YORK

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amje McAllister, P.E., Ph.D., C.F.I., C.S.P
fe Protection Engineer and Toxicologist

Case:
Philadelphia Indemnity Insurance Company vs. Kathleen Burke Barker
In the United States District Court
Northern District of New York
Civil Case No. 1:19-cv-1456

Submitted to:
Attorney Brian Casey
Cabaniss Casey, LLP

4 Tower Place, Suite 100
Albany, New York 12203

Submission Date:
September 29, 2020
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The analysis presented in this report serves as a Rule 26 disclosure of my expert opinions in the

case of Philadelphia Indemnity Insurance Company vs. Kathleen Burke Barker. \n preparing this

report, I have reviewed the following materials:

Summons and Complaint

Answer to Jury Trial Demanded

Report of Daniel Vieau

Lewis County Building & Codes Department Records

Lewis County Origin & Cause Team Fire Investigator Report Worksheet
Lewis County Sheriff's Office Incident Report and Photographs
Bellinger Photographs and OSCR 360 Photographs

Watertown Times Photograph

Plaintiff's Document Production Pursuant to Rule 26 (Def. Exhibit A)
Plaintiff's Response to Defendant’s Discovery Demand (Def. Exhibit B)
Plaintiff's 2nd Supplemental Document Production (Def. Exhibit C)
Plaintiff's Response to Defendant’s Interrogatories (Def. Exhibit D)
Plaintiff's Supplemental Response to Defendant’s Interrogatories (Def. Exhibit E)
Defendant’s Response to Plaintiff’s Interrogatories

Defendant’s Response to Plaintiff's Request for Production of Documents
Defendant’s FRCP Rule 26 Required Disclosure to Plaintiff

Deposition of Denise Weaver

Deposition of Steven Jackson

Deposition of Christopher Vaughn

Deposition of Katherine Currey

Deposition of Kathleen Barker

Deposition of Brett Croneiser

Deposition of Richard Knight

My analysis and opinions are based upon my review of these materials, as well as, my

experience, knowledge, and training, as detailed in my resume provided in Appendix A. My fee

for preparation of this report, as well as my fee for deposition or trial testimony is $350/hour. A

list of testimony for the last four years is provided in Appendix B.
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The analysis and opinions expressed within this report are based upon the facts and
evidence reviewed as of the submission date of this report. My opinions are held to a reasonable
degree of engineering and scientific certainty. If additional information is received which changes

my opinions in this case, I will amend or supplement my report accordingly.

BACKGROUND
On April 6, 2019, a fire occurred at 5398 Hemlock Drive in Lowville, New York. The
structure was a two-story, wood frame, apartment building constructed circa 1986. The building
contained four apartments. Two apartments (units A and C) were located on the first level of the
structure, and two additional apartments (units B and D) were located on the top level of the
structure. Each apartment contained three bedrooms, 2 bathrooms, a living room, kitchen, and
mechanical room. An attached single car garage was also provided with each unit.
At 4:57 pm on April 6"", Katherine Currey contacted Lewis County 911 to report a fire at
5398 Hemlock Drive behind garages A and B, as shown in Figure 1.
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BEDROOM

 

 

   
      

 

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Patio Area

 

 

  
  
   
  

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6398 HEMLOCK DRIVE
S-BEDROOM
UNIT HA,

 

GARAGE A GARAGE B LIVING ROOM

  

 

 

 

 

 

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Figure 1: Unit A Layout (extracted from Defendant’s Exhibit C (PL001166)).

 

 

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The dispatch notes indicated “Reports that the apartment across the road is on fire. Flames visible.”
Ms. Currey’s apartment was located at 5399 Hemlock Drive, which was directly across the street
from the incident structure. In her deposition testimony, Ms. Currey stated that she was sitting at
a table next to her sliding glass door. The sliding glass door was on the front of her apartment
facing the street, so she had a direct view of the front of 5398 Hemlock Drive. She stated that she
looked up and “saw smoke” coming from the back of 5398 Hemlock Drive where the two ridges
of the garage roof come together. According to her deposition testimony, she assumed it was
someone barbequing. In “less than a minute”, however, Ms. Currey testified that the smoke
transitioned to flames. She further stated that it “really took over fast” spreading up the side of the
apartment building. Ms. Currey stated that she “dialed 911 right away” after seeing the flames.
The fire department arrived at 5:01 pm at which point the patio area behind garages A

and B was consumed with fire. The fire had also spread up the side of the apartment building.
Lewis County Sheriff's Office Sergeant Richard Knight and Deputy Brett Croneiser responded to
the scene to investigate the origin and cause of the fire. Sergeant Knight arrived on scene at 5:31
pm, and Deputy Croneiser arrived on scene at 5:53 pm. Deputy Croneiser conducted the
investigation with the assistance of Sergeant Knight and others who were part of the Lewis County
Cause & Origin Team. Facing the front of the building, Deputy Croneiser noted fire damage to
units A and B, the garage roofs, and the rear patio and contents.

In his report, Deputy Croneiser noted that the tenant of unit A, Richard Burke, was not
home at the time of the incident nor was his daughter Kathleen Barker, who was visiting her 86-
year old father. Unit B was unoccupied at the time of the fire and was being prepared for rental.
Deputy Croneiser noted that damage to unit B was primarily from ceiling collapse and exterior
exposure. During his inspection of the interior of unit A, he noted that the mechanical room was
more extensively damaged when compared to other areas of the apartment. In particular, he noted
extensive fire damage on the mechanical room wall near the dryer and the door leading to the patio
(see Figure 1). He noted that the dryer knob was “off’. After inspection on the interior, he
concluded that damage inside the mechanical room was the result of “natural fire progression” into
the space from the exterior of the building.

Deputy Croneiser, then, focused his attention to the patio area in the rear of unit A. The
patio was open but covered by a roof structure that adjoined the garage roof. A walkway

underneath the patio area extended from the exterior door of the unit A mechanical room to the
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exterior door of garage A (see Figure 1). Deputy Croneiser noted that the patio roof structure had
burned and collapsed during the fire and that fire had spread from the patio roof into the garage
roof and up the side of the building. The investigative team excavated and reconstructed the patio
area. They documented a “melted white plastic unit...located where the rear wall and concrete
patio meet approximately 6 feet from the back door of the garage.” They also located a melted
“plastic planter” in the same area. Deputy Croneiser noted that a gas meter was in the patio area
outside of the unit A mechanical room. He indicated that the meter had “blown apart on the
bottom” and that the gauges were “melted out”. There had been no complaint of a gas leak or odor
of gas prior to the incident.

After documenting the scene, Deputy Croneiser interviewed Ms. Barker. According to
Deputy Croneiser, Ms. Barker stated that she smoked a cigarette on the patio between 3:15 pm and
3:30 pm on the day of the incident. She sat on a plastic storage bench while she smoked. When
she was done, she “put her cigarette out and placed it in a plastic planter that she had on the patio
for cigarette butts.....” More specifically, Deputy Croneiser testified at deposition that Ms. Barker
wiped the cigarette in the dirt in the planter and then shoved it into that same dirt. According to
Deputy Croneiser, Ms. Barker did not hear or smell natural gas when she was smoking outside.

On April 17, 2019, Deputy Croneiser received a phone call from Investigator Brian Wydra.
Mr. Wydra represented that he was an investigator working on behalf of Erie Insurance Company,
Mr. Burke’s renter’s insurance carrier. According to Mr. Wydra, he interviewed Ms. Barker, and
she advised him that she was smoking in the patio area between 3:00 pm and 3:15 pm.
Additionally, Mr. Wydra stated that Ms. Barker told him about a blue tarp that was hung from the
patio roof “to block wind in the winter.” Mr. Wydra represented to Deputy Croneiser that he found
evidence of the tarp during his investigation.

Based upon his investigation, Deputy Croneiser concluded that the fire started in the
exterior “CD corner” of the building. According to Deputy Croneiser deposition testimony, the
C/D corner encompassed the entire patio area. He ruled out environmental factors, electrical
causes, and incendiary causes, but stated that he was “not able to rule out accidental and/or
smoking as a cause.” In his deposition, Deputy Croneiser testified “We looked for a competent
ignition source, and if Ms. Burke extinguished her cigarette in the manner in which she stated that
she did, then that would rule out the smoking as a competent ignition source.” In his deposition,

Sergeant Knight also testified that they “were unable to come up with a competent ignition
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sequence at that time or any time since we left the scene based off of the evidence present that
day.” Based upon the evidence, Deputy Croneiser and Sergeant Knight were not able to determine
the probable cause of the fire and classified it as “undetermined”.

In her deposition, Ms. Barker testified that she would visit her father once a month and that
she had been visiting her father for approximately 10 days when the fire occurred. She said it
would typically take her two minutes to smoke a cigarette. Routinely, she would only smoke half
the cigarette before extinguishing it. When smoking on the rear patio, she testified that she would
extinguish her cigarette by stepping on it, folding it in half, checking that it was not warm, and
then disposing of it in a plastic planter.

While at her father’s apartment, Ms. Barker testified that she was smoking cigarettes
purchased by a friend from the Plattsburgh Indian Reservation. She indicated that she smoked
approximately 20 cigarettes a day. Sometimes, she would smoke on the front porch and other
times she would smoke on the rear patio. When smoking on the front porch, there was no
receptacle for cigarettes, so Ms. Barker testified that she would follow the same procedure to
extinguish the cigarette but would place the cigarette remains in her pocket thereafter. In fact, Ms.
Currey, the neighbor across the street, testified that she had witnessed Ms. Barker extinguish her
cigarette after smoking on the front porch. According to Ms. Currey, Ms. Barker would put the
cigarette down on the ground and extinguish it with her foot or move it back and forth with her
hand.

On the day of the incident, Ms. Barker testified that she smoked a cigarette in the rear patio
area around 3:00 pm. She extinguished the cigarette using her normal practice of stepping on it,
folding it in half, and ensuring it was no longer warm. She, then, placed the extinguished cigarette
into a plastic planter that only contained the remains of other cigarettes. After finishing her
cigarette, Ms. Barker testified that she went inside and read a book. Between 4:00 pm and 4:15
pm, Ms. Barker left the apartment to get her car washed and do some shopping. She left the
apartment through the mechanical room door and walked through the patio area to the garage. She
stated that she opened the garage and moved her car into the driveway. Then, she walked back
through the patio area into the house, and then came back out of the house through the patio area
again. She, then, left the residence to get her car washed at Hanno’s on Route 12 in Lowville, after
which she went to the Dollar General which was also in the same vicinity. While in the Dollar

General, people were talking about a smoke plume that was visible in the sky, and Ms. Barker
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testified that she saw fire trucks passing the store. She believed it was approximately 5:00 pm
when she made these observations.

Figure 2 is a diagram of the rear patio area drawn by Ms. Barker during her deposition.
According to Ms. Barker, there was a plastic storage bin against the masonry wall next to the
garage (marked “S”). She would sit on this storage bin while smoking. On the other side of the
patio, there was another plastic storage shelf approximately 6 feet high that had a storage container
on the bottom (marked “S2”). There were approximately three green plastic chairs stacked on the
corner of the patio (marked “C”), and salt and sand in various locations. Ms. Barker testified that
there was a blue tarp that hung down vertically from the patio roof. The tarp was between the post

marked “P2” and a third post shown as a black dot with an arrow (see Figure 2).

 

 

 

 

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Bedroom

 

 

  

a North

 

 

   
 

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Dining Area Living Room

 

 

 

 

 

 

 

 

Figure 2: Diagram of rear patio from Ms. Barker’s deposition.
The tarp spanned approximately six feet. The purpose of the tarp was to keep snow from drifting
onto the patio area. The planter that Ms. Barker used for her cigarette butts was located directly
across from the plastic storage bin (marked “X” with a circle). According to Ms. Barker, the
planter was green. With regards to a white planter, Ms. Barker indicated that there were no white

planters located on the patio area but there was a white planter on the opposite side of the blue tarp

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in the grass. She indicated that the white planter was empty and that she never used the white
planter to dispose of cigarettes. Ms. Barker testified that the planter she used for disposing of
cigarettes was approximately 6 to 8 inches from the plastic storage unit and approximately 1 foot
from the blue tarp. She stated that she had emptied the planter approximately three times in the
10 days she had been at the residence. Ms. Barker testified that there was approximately one inch

of cigarette butts in the planter on the day of the incident.

ANALYSIS

The complaint filed in this case indicated that the fire at 5398 Hemlock Drive resulted
from Ms. Barker’s negligent and careless use and/or disposal of smoking materials. At issue in
this case is the origin, cause, and responsibility for the fire that occurred at 5398 Hemlock Drive.

Moreover, at issue is whether a carelessly discarded cigarette was the cause of this incident.

Origin

Photographs from the Lewis County Sheriff's Office investigation were reviewed to
analyze the fire patterns and fire effects present at the scene. Additionally, photographs from the
media and Plaintiffs expert Daniel Vieau, were evaluated. Damage to the interior of units A and
B is consistent with smoke and fire spread into these locations from the exterior of the building.
The unit A mechanical room was the most heavily damaged interior space. Photographic evidence
shows that more extensive damage was present on the wall bordering the exterior patio. Fire
effects and patterns on the mechanical room door leading to the exterior patio are consistent with
heat exposure from the exterior. Additionally, damage to the dryer vent and power cord is
consistent with heat transfer through the exterior opening of the dryer vent and the adjacent
mechanical room door. The ruptured gas meter was located a short distance from the damaged
mechanical room door and vent; the fuel expelling from the meter would have significantly
contributed to the overall fuel loading on the patio area and would have contributed to the spread
of the fire into the mechanical room. Damage within garage A is consistent with the drop down
of burning materials from the exposed roof structure above the ceiling.

Based upon a review of the photographic evidence from the fire scene, it is probable that
the fire originated in the rear patio area behind garages A and B. Due to the extent of the fire,

there are no localized fire patterns which would allow one to identify a more specific area of origin
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or point of origin. These conclusions are also consistent with the Lewis County Fire Investigation

Teams findings and Deputy Croneiser’s and Sergeant Knight’s deposition testimony.

Cause

Plaintiff's expert, Mr. Vieau, has opined to a degree of certainty that the fire originated on
the rear patio from a carelessly discarded cigarette. However, Mr. Vieau failed to test his cause
hypothesis as required by NFPA 921. Mr. Vieau’s hypothesized fire cause is not consistent with
the known facts of this case or the body of scientific knowledge surrounding smoldering cigarette
ignitions. The specific areas in which Mr. Vieau failed to follow NFPA 921 and the Scientific
Method will be detailed in the Rebuttal section of this report. The Cause section of this report will
test the hypothesis that the fire was caused by a carelessly discarded cigarette.

Studies have been conducted to evaluate the ability of smoldering cigarettes to ignite
common combustibles. Holleyhead (1998) pointed out that the ability of a lit cigarette to ignite
another material is dependent upon several factors including the temperature and heat output of
the cigarette, the intimacy of contact between the cigarette and the material, and air flow at the
point of contact. In a study on the ignition of paper materials in a trashcan by a lit cigarette, Anon
(1998) found two general trends. First, the probability of a smoldering cigarette starting a fire in
paper materials found in a trashcan is extremely unlikely. Second, if a smoldering cigarette does
start a fire in paper materials within a trashcan, the fire will quickly transition to flaming in a matter
of minutes. In Anon’s study, over 300 smoldering cigarette tests were conducted in trashcans with
various paper products, including fast food wrappers and other containers. Out of the 300 tests
conducted, only four tests resulted in flaming combustion, and to achieve these flaming fires,
highly specific conditions had to be artificially created. For example, in one test a freshly lit
cigarette was strategically placed in a used popcorn bag and then the popcorn bag was packed with
loose paper towels that had been used to wipe off piping grease. Other tests that achieved flaming
ignition involved similarly complex cigarette and trash configurations. No fires were able to occur
when a freshly lit smoldering cigarette was only dropped on top of the various trash materials.

In this incident, Ms. Barker testified that there were other cigarette butts in the plastic
planter. Hence, the fuels present in the immediate vicinity where Ms. Barker discarded her
cigarette were primarily composed of paper, plastic, and tobacco. While this incident does not

involve the same paper materials that Anon (1998) tested, Anon’s results present a best-case
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scenario in which he only got flaming ignition in 4 out of 300 tests; the ignition of a thermally thin
material, such as the paper materials tested by Anon requires less thermal energy than ignition of
thicker materials, such as cigarette butts. Hence, if it were difficult to ignite the paper products in
Anon’s (1998) test, it would be equally difficult, if not more difficult, for a lit cigarette to ignite
other cigarette butts. Additionally, in cases where a smoldering cigarette led to flaming ignition
in a trashcan, visible smoke was observed from the beginning of the test, and visible flames were
observed within 14 to 18 minutes.

To further evaluate the timeline of events in this incident, it is necessary to define the
duration of time that a cigarette can smolder. Cigarette paper contains nitrates that can support
continued combustion of the cigarette even when it is not being actively smoked. However, when
the paper has burned down to the filter, the cigarette will extinguish. As such, there is a limited
window of time during which a prematurely discarded lit cigarette can ignite adjacent materials
before it is no longer an ignition source.

Krasny (1987) reported smoldering burn rates of 4 mm/min to 6 mm/min. While at her
father’s house, Ms. Barker testified that she smoked cigarettes that came from the Plattsburgh
Indian Reservation. To evaluate the burn rate of the incident cigarettes, exemplar cigarettes where
obtained from the Plattsburgh Indian Reservation. It was determined that the incident cigarettes
were “Rollies” brand, as shown in Figure 3. These cigarettes are 83 mm long with 63 mm

composed of tobacco and 20 mm composed of filter.

 

Figure 3: Rollies brand exemplar cigarette.

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The exemplar cigarettes were tested in open air and against a plastic substrate (see Appendix C).
In open air, it took approximately 11 minutes for the 63 mm length of tobacco to burn equating to
a 5.7 mm/min burn rate. Against the plastic substrate, it took approximately 17 minutes for the 63
mm length of tobacco to burn producing a 3.7 mm/min burn rate. These burn rates are consistent
with those found by Krasny (1987), e.g. 4 mm/min to 6 mm/min.

Ms. Barker testified that she routinely smoked half a cigarette and then discarded it. It is
unclear if Ms. Barker smoked half the cigarette as measured from end to end or half the tobacco
portion of the cigarette. Assuming a worst-case scenario where Ms. Barker discarded her cigarette
with approximately 31.5 mm of tobacco remaining, e.g. half the tobacco portion, the cigarette
would self-extinguish after 9 minutes using the slowest burn rate of 3.7 mm/min.

The information gathered from the literature and testing was compared against the timeline
of events shown in Table 1. Table 1 was developed based upon witness testimony. Ms. Barker
testified that she smoked a cigarette on the rear patio at 3:00 pm. Investigator Wydra indicated
that Ms. Barker last smoked on the patio between 3:00 pm and 3:15 pm, and Deputy Croneiser
indicated that Ms. Barker last smoked on the patio between 3:15 pm and 3:30 pm. Two-time
increments were utilized to evaluate the earliest and latest times Ms. Barker could have smoked
on the patio. Time | (AT1) represents the time lapse assuming Ms. Barker last smoked on the
patio at 3:00 pm. Time 2 (AT2) represents the time lapse assuming Ms. Barker last smoked on the
patio at 3:30 pm.

 

 

 

 

 

Time AT1 AT2
Event
(hr:min) (hr:min) | (hr:min)
Earliest time Ms. Barker smoked a cigarette on patio 3:00 0:00
Latest time Ms. Barker smoked a cigarette on the patio 3:30 0:30 0:00
Ms. Barker walks through patio area twice 4:00 1:00 0:30
Ms. Currey reports fire to 911 4:57 S77 1:27

 

 

 

 

 

 

Table 1: Timeline of Events

As shown in Table 1, Ms. Barker walked through the patio area three times approximately
30-minutes to a 1-hour after she last smoked a cigarette. Anon (1998) found that visible smoke
was observed from the beginning of his tests, and visible flames were observed within 14 to 18

minutes when a full-length cigarette was the ignition source. Hence, flaming ignition occurred at

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or before the cigarette self-extinguished. Given that the incident cigarette would only smolder for
9 minutes after it was discarded, ignition of other combustibles within the planter would have
occurred within this 9-minute time frame. This would have resulted in excess smoke production
or flaming combustion.

The walkway between the mechanical room door and the garage door is a narrow area
measuring approximately 36 inches wide. The bench that Ms. Barker sat on while smoking
spanned almost the width of the walkway. The plastic planter was only a short distance from the

bench. Figure 4 is the image taken by Plaintiff's expert Mr. Vieau, which shows the approximate

location of the bench and the planter.

 

Figure 4: Path to garage between bench and planter. (Image taken by Daniel Vieau)
To pass through this area, Ms. Barker would have walked past the plastic planter. She
would have done so three times as she prepared to leave the residence at 4:00 pm, almost 30
minutes to one hour after she discarded her cigarette. At no time did Ms. Barker see or smell
anything unusual. She did not see flames or smell smoke coming from the planter. Additionally,
smoke and fire were not witnessed for 1-1/2 to 2 hours after Ms. Barker last smoked on the patio.

The timeline of events and witness observations is inconsistent with a hypothesis that a carelessly

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discarded cigarette caused this fire. As such, and in keeping with the Scientific Method, this

hypothesis must be rejected.

Rebuttal

NFPA 921, Guide for Fire and Explosion Investigation, is the de facto “standard of care”
in the fire investigation community. NFPA 921, Chapter 4, Basic Methodology, recommends the
use of the Scientific Method. The origin of the Scientific Method predates any edition of NFPA
921 and is a principle of inquiry that forms the basis for legitimate scientific and engineering
processes, including fire incident investigation. The Scientific Method is applied to the
investigation of fire and explosion incidents through the following steps: 1) Recognize the need,
2) Define the problem, 3) Collect data, 4) Analyze data, 5) Develop a hypothesis, and 6) Test the
hypothesis. A hypothesis is developed through the use of inductive reasoning, which NFPA 921
defines as “the process by which a person starts from a particular experience and proceeds to
generalizations.” The Scientific Method requires, however, that any hypothesis that is developed
and related to the origin, cause, or responsibility for a fire must be tested by the principle of
deductive reasoning, in which the investigator compares his or her hypothesis to all the known
facts, as well as, the body of scientific knowledge associated with the phenomenon relevant to the
specific incident.

Plaintiff's expert Mr. Vieau used inductive reasoning (e.g. generalizations) in arriving at
his conclusions regarding the cause of this fire; however, he failed to use deductive reasoning to
test his hypothesis against the specific facts of this case and known scientific and engineering
principles. Thus, his conclusions are invalid because he failed to fully and properly apply the
Scientific Method to his analysis.

As discussed in Chapter 19 of NFPA 921, “a fuel by itself or an ignition source by itself
does not create a fire” and a cause cannot be inferred simply by identifying a potential ignition

source within the area of origin. Moreover, NFPA 921, Section 19.4.4.1 and 19.4.4.2 states:

19.4.4.1 The ignition sequence of a fire event is defined as the succession of events
and conditions that allow the source of ignition, the fuel, and the oxidant to interact
in the appropriate quantities and circumstance for combustion to begin. Simply

identifying a fuel or an ignition source by itself does not and cannot describe how

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a fire came to be. Fire results from the interaction of fuel, an oxidant, and an ignition
source. Therefore, the investigator should be cautious about deciding on a cause of
a fire just because a readily ignitible fuel, potential ignition source, or any other of
an ignition sequence’s elements is identified. The sequence of events that allow the
source of ignition, the fuel, and the oxidant to interact in the appropriate quantities

and circumstances for combustion to begin, is essential in establishing the cause.

19.4.4.2 Analyzing the ignition sequence requires determining events and
conditions that occurred or were logically necessary to have occurred, in order for
the fire to have begun. Additionally, in describing an ignition sequence, the order

in which those events occurred should be determined.

Mr. Vieau failed to evaluate the competency of the cigarette as an ignition source. He also
failed to identify the type and form of the first fuel ignited and the circumstances that came together
to start the fire. Mr. Vieau’s analysis clearly suffers from presumption and expectation bias.

NFPA 921 states the following with regards to these fatal flaws:

4.3.8 Avoid Presumption. Until data have been collected, no specific hypothesis
can be reasonably formed or tested. All investigations of fire and explosion
incidents should be approached by the investigator without presumption as to
origin, ignition sequence, cause, fire spread, or responsibility for the incident until
the use of the scientific method has yielded testable hypotheses, which cannot be

disproved by rigorous testing.

4.3.9 Expectation Bias. Expectation bias is a well-established phenomenon that
occurs in scientific analysis when investigator(s) reach a premature conclusion
without having examined or considered all of the relevant data. Instead of collecting
and examining all of the data in a logical and unbiased manner to reach a
scientifically reliable conclusion, the investigator(s) uses the premature
determination to dictate investigative processes, analyses, and, ultimately,

conclusions, in a way that is not scientifically valid. The introduction of expectation

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bias into the investigation results in the use of only that data that supports this
previously formed conclusion and often results in the misinterpretation and/or the
discarding of data that does not support the original opinion. Investigators are
strongly cautioned to avoid expectation bias through proper use of the scientific

method.

With bias and presumption, Mr. Vieau improperly used inductive reasoning and invalid
and unscientific logic in arriving at his conclusions regarding the fire cause. Mr. Vieau never
tested his cause hypothesis against the specific facts of this case and the relevant technical literature

as required by the Scientific Method, thereby, rendering his opinions invalid.

Spoliation

NFPA 921 defines spoliation as “Loss, destruction, or material alteration of an object or
document that is evidence or potential evidence in a legal proceeding by one who has the
responsibility for its preservation.” Further, Section 12.3.5 of NFPA 921 states that spoliation of
the scene “significantly impairs the opportunity of other interested parties to obtain the same
evidentiary value from the evidence, as did any prior investigator.” Moreover, Section 12.3.5.5

states:

12.3.5.5 Documentation Prior to Alteration. Anytime the investigator determines
that significant alteration of the fire scene will be necessary to complete the fire
investigation, it should be done, only after notification to all known interested
parties has been given, and the interested parties have been afforded the opportunity
to be present. Special care should be taken to photograph and document the scene
and preserve relevant evidence. The scene should be properly documented prior to
any alteration, and relevant evidence should be preserved. Destructive disassembly
of any suspected or potential ignition sources should be avoided whenever possible
to permit later forensic examination after notice is given to all known interested

parties.

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In this case, the ability to evaluate all hypotheses regarding the cause of the fire have been
prejudiced by spoilation. Plaintiff's expert, Mr. Vieau opined that “the only identifiable ignition
sources were from electrical fault or failure of incandescent recess light fixtures or from the
careless discard of smoking material (cigarette).” Mr. Vieau further opined that “The incandescent
recess light fixtures recovered from the debris had failed to reveal any evidence of electrical
damage (i.e. arcing) or isolated oxidation patterns.” Plaintiff has produced two photographs,
shown in Appendix D, of what appears to be the remains of one incandescent light. These
photographs provide no close-up details of the light or electrical wiring associated with the light
which would allow for an independent evaluation of the evidence. Further, no evidence from the
fire scene, including the lighting, was retained for inspection by Ms. Barker’s representatives.
Moreover, when the investigator retained by Ms. Barker’s insurance company (Bill Haynes of
Sotera Investigative Group) went to the scene, the patio area and garages had been demolished and
removed. As such, defendant’s experts have not been provided the same opportunity to examine
the physical evidence. Because of this limitation, the hypothesis regarding the light fixtures as an

ignition source cannot be tested or challenged.

SUMMARY OF OPINIONS
The following conclusions can be made to a reasonable degree of engineering and scientific
certainty based upon the analysis presented above:
e It is probable that the fire originated in the rear patio area behind garages A and B.
e Due to the extent of the fire, a more specific area of origin or point of origin cannot be
identified.
e To test the hypothesis that a carelessly discarded cigarette started this fire, it is necessary
to establish the duration of time a cigarette will smolder.
e Based upon testing of exemplar cigarettes, the incident cigarette would have self-
extinguished after 9 minutes.
e Ignition of other combustibles within the planter would have occurred within this 9-minute
time frame resulting in excess smoke production or flaming combustion.
e Ms. Barker walked past the plastic planter three times as she prepared to leave the residence

almost 30 minutes to one hour after she discarded her cigarette.

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e Ms. Barker did not see flames or smell smoke coming from the planter at any time as she
walked past it.

e The timeline of events and witness observations is inconsistent with a hypothesis that a
carelessly discarded cigarette caused this fire.

e The carelessly discarded cigarette hypothesis must be rejected because it is inconsistent
with the facts of this case and known scientific and engineering principles

e Mr. Vieau failed to use deductive reasoning to test his hypothesis against the specific facts
of this case and known scientific and engineering principles.

e Mr. Vieau’s conclusions regarding the cause of this fire are invalid, because he failed to
fully and properly apply the Scientific Method to his analysis.

e Due to spoliation, defendant cannot examine the physical evidence and cannot challege or
test other cause hypotheses.

e Since no hypothesis can withstand an examination by deductive reasoning, the cause

remains undetermined.

REFERENCES

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Findings, Winter 1998, 6 (1):1-3.

Holleyhead, R.., “Ignition of solid materials and furniture by lighted cigarettes. A review.” Science
& Justice, 39(2), 1999, 75-102.

Krasny, J. Cigarette Ignition of Soft Furnishings- A Literature Review with Commentary, National
Bureau of Standards, April 1987, NBSIR 87-3509.

NFPA 921, “Guide for Fire and Explosion Investigations,” 2017.

Rein, G. (2016) Smoldering Combustion, In SFPE Handbook of Fire Protection Engineering (5th
ed.), Quincy, Massachusetts: National Fire Protection Association.

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APPENDIX A: RESUME

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JAMIE MCALLISTER, Ph.D., P.E., C.F.I., C.S.P.

EDUCATION:

Ph.D., Toxicology, University of Maryland, School of Medicine, Baltimore, MD, 2010.
M.S., Fire Protection Engineering, University of Maryland, School of Engineering, College Park, MD, 2002.
B.S., Fire Protection Engineering, University of Maryland, School of Engineering, College Park, MD, 2000.

DOCTORAL THESIS:

Ferrino-McAllister, J. “Fire Victim Blood Cyanide Stability and the Development of a Cyanide Uptake Model”,
University of Maryland, Baltimore, May 2010.

MASTER THESIS:

Ferrino, J. “An Investigation of Fire Phenomena in Residential Electrical Wiring and Connections”, University of
Maryland, College Park, December 2002.

PROFESSIONAL EXPERIENCE:

FireTox, LLC, New Market, MD, 2017 to present.

Technical Director, Principal Engineer and Toxicologist

Responsible for managing daily business operations including litigation and fire protection engineering
services, as well as research and training initiatives. Serve as lead forensic investigator and expert witness
for fire, combustion, and toxicological incidents. Serve as the principal investigator on fire science research
projects including those associated with occupational safety and health, combustion toxicity, fire
investigation, and fire service training. Serve as principal fire protection engineer on design projects
involving complex structures and systems, performance-based approaches, fire modeling, and tenability
analyses. Serve as the lead instructor for fire death/injury and fire investigation training courses.

Combustion Science & Engineering, Inc., Columbia, MD, 2000 to 2020.

Consulting Engineer/Toxicologist (8/2013 to 2/2020)

Responsible for the evaluation of issues related to fire, combustion, and toxicological incidents. Conduct fire
hazard analysis, forensic failure investigations, post-fire reconstruction analyses, victim toxicological
analyses, computational fluid dynamics fire modeling, fire dynamics analyses, case-related large and small-
scale experimentation, fire alarm and suppression system failure analyses including re-design, and building
and fire code compliance reviews. Serve as an expert witness on fire litigation cases with experience spans
a broad range of both criminal and civil cases.

Principal Engineer/Toxicologist (5/2010 to 7/2013)

Responsible for managing the fire investigations unit and acting as a lead scene investigator and expert
witness. Directed, managed, and conducted fire, combustion, and toxicological incident investigations.
Directed, managed, and conducted engineering fire hazard analyses and forensic failure investigations to
prevent and/or explain fires, explosions, and toxicological incidents. Directed, managed, and conducted post-
fire reconstruction analyses, victim toxicological analyses, computational fluid dynamics fire modeling, fire
dynamics analyses, case-related large and small-scale experimentation, fire alarm and suppression system
failure analyses including re-design, and building and fire code compliance reviews. Directed, managed, and
conducted investigations of carbon monoxide poisoning incidents from combustion devices. Additional areas
of focus included fire department operations as it related to fire spread, damage, and pattern development,
and drug and alcohol effects as it related to victim impairment. Served as an expert witness on fire litigation
cases with experience spans a broad range of both criminal and civil cases.

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Senior Engineer (1/2007 to 4/2010)
Performed the duties previously described under “Project Engineer” as well as directed and managed other
Project Engineers in the performance of the same duties. Served as an expert witness in fire litigation cases.

Project Engineer (12/2002 to 12/2006)

Performed origin and cause investigations; Conducted engineering fire hazard analyses and forensic failure
investigations to prevent and/or explain fires and explosions; Oversaw post-fire reconstruction and laboratory
testing; Performed code review, fire modeling (CFAST and FDS), fire dynamics analyses, carbon monoxide
poisoning analyses, and fire victim toxicological analyses.

Staff Engineer (12/2000 to 11/2002)

Performed origin and cause investigations and the duties previously described under “Engineering
Technician” in a full-time capacity; Designed (in addition to conducting) laboratory tests for litigation
support and research and development; Performed code reviews, fire modeling (CFAST and FDS), and fire
dynamics analyses for litigation support.

Engineering Technician (5/2000 to 11/2000)

Assisted lead origin and cause investigators in the investigation of residential, commercial, industrial, and
vehicular fires; Conducted laboratory experiments for the purposes of post-fire reconstruction analyses and
product failure analyses in conjunction with fire litigation; Conducted laboratory experiments for the
purposes of fire modeling validation; Conducted laboratory experiments for government-funded and
corporate-funded research and development; Responsible for designing data acquisition programs,
constructing small and large-scale test compartments, and instrumenting compartments with thermocouples,
heat flux gauges, and gas probes.

National Institute of Standards and Technology, Gaithersburg, MD, 2013 to 2020.

Supervisory Fire Protection Engineer and NIST Authority Having Jurisdiction (8/2015 to 1/2020)
Performed the duties previously described under “Fire Protection Engineer.” Performed the duties of the
NIST Authority Having Jurisdiction for all NIST-owned and operated campuses including those located in
Gaithersburg, MD, Boulder, CO, Fort Collins, CO, Charleston, SC, and Kauai, HI. Supervised and lead the
Office of Safety, Health, and Environment, Fire & Facilities Safety Group composed of fire protection
engineers, an electrical safety engineer, and a fire alarm system administrator. Developed the NIST Fire and
Life Safety Program and implemented code adoptions, policies, and programs related to fire, life, and
electrical safety applicable to all NIST campuses. Ensured campuses were complying with the requirements
set forth in the International codes, NFPA codes, best practices adopted by NIST, and relevant OSHA
regulations. Assisted the NIST workplace inspection team in identifying and remediating fire and life safety
hazards identified in office, laboratories, and various other occupancy types. Managed contracts for fire
alarm programming and fire alarm and suppression system inspection, testing, and maintenance on the NIST
Gaithersburg and Boulder campuses. Graduated from the NIST New Leader Program and obtained
certifications as a Certified Safety Professional and Level 2 Contracting Officer’s Representative.

Fire Protection Engineer (8/2013 to 7/2015)

Conducted laboratory hazard assessments to identify safety concerns related to usage of hazardous chemicals
such as flammable, combustible, toxic, pyrophoric, explosive, and reactive gas, liquids, and solids. Provided
requirements to eliminate or protect against hazards associated with laboratory research including
implementation of monitoring devices, fire suppression and detection systems, and personal protective
equipment. Reviewed design and construction submittals for renovations and small- and large-scale
construction projects on NIST campuses to ensure compliance with regulatory codes. Provided fire and life
safety system design services to NIST. Acted as the lead investigator of fire and electrical incidents occurring
on NIST campuses.

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University of Maryland, College Park, MD, 2014 to present.

Lecturer (1/2014 to present)

Instructor for the School of Engineering, Fire Protection Engineering Online Graduate Program.
Responsibilities include educating graduate students on topics related to human behavior, people movement,
life safety, heat and toxic species production, and tenability in fires.

Fire Laboratory Technician (9/1999 to 5/2000)

Used the cone calorimeter, performed flammability characteristics calculations. Conducted research project
in conjunction with the National Institute of Standards and Technology studying burning characteristics of
gypsum wallboard with varying layers of paint (over 150 tests). Research was published in “Flammability
of Oil-Based Painted Gypsum Wallboard Subjected to Fire Heat Fluxes” by Dr. Mowrer and presented at the
2001 NFPA World Fire Safety Congress and Exposition.

Eastern Kentucky University, Richmond, KY, 2010 to 2018.

Instructor/Facilitator (8/2010 to 5/2018)

Online instructor and facilitator for Fire Protection Administration and Fire Protection and Safety
Engineering Technology Programs. Responsibilities included educating undergraduate students on topics
related to fire behavior, combustion sciences, and the use of statistics in fire safety analyses.

University of Marytand, University College, Adelphi, MD, 2008 to 2017.

Associate Professor (8/2014 to 12/2017)

Instructor for the Mathematics Departments. Responsibilities included educating undergraduate students on
topics related to collegiate mathematics. Promotion to Associate Professor is based on years of service, as
well as, relevant and effective service and support of institutional academic rigor.

Assistant Professor (4/2008 to 7/2014)

Instructor for the Fire Science and Mathematics Departments. Responsibilities included educating
undergraduate students on topics related to fire origin and cause investigation, fire behavior, fire ignition, fire
growth and spread, and legal considerations in fire investigation, as well as, mathematics.

Stanton Engineering, Laurel, MD, 1999 to 2000.

Engineering Technician, (11/1999 to 5/2000)

Used National Fire Codes, specifically NFPA 13, 72, and 101. Performed life safety analyses, fire alarm and
sprinkler system design, fire modeling, and fire risk assessment. Notable projects: The Pentagon, United
States Naval Academy, The Smithsonian Institute. Used Microstation

Tilley Fire Equipment Company, Doylestown, PA, 1999.

Sprinkler System Designer/Engineering Technician (5/1999 to 8/1999, Summer Internship)

Used National Fire Codes, specifically NFPA 13, 13D, and 13R. Designed retrofit, tenant finish, and new
sprinkler systems. Performed field checks, surveyed installation and fabrication. Assessed blueprints, cut
sheets, fabrication reports, and hydraulic calculations. Used Autocad 14 w/ SprinkCad.

ABB Power Products, Montgomeryville, PA, 1997-1998.

Technician (1997 to 1998)
Responsible for inventory and assembly of electrical power generation, transmission, and distribution
equipment including circuit breakers, transformers, switchgear, controls, and relays.

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RELATED EXPERIENCE:

Contract Instructor: National Fire Academy, Emmitsburg, MD

Reviewer: Fire Technology, Fire Safety Journal, International Association of Fire Safety Science, and Brady
Publishing

Subject Matter Expert: Department of Defense- Toxic (Fire) Gas Inhalation Injury (BIPTAP), Society of Fire
Protection Engineering- Guide on Human Behavior in Fire, DHS/FEMA/USFA Practical Applications of Fire
Dynamics and Modeling

Colmar Vol. Fire Company (July ‘95- December ‘00)
Position(s) Held: Firefighter

Beltsville Vol. Fire Department (Station 41)/Prince George's County Fire Department (Oct ‘98-Jan ‘03)
Position(s) Held: Firefighter/EMT

West Lanham Vol. Fire Department (Station 48)/Prince George's County Fire Department (Jan '03-June ‘03)
Position(s) Held: Firefighter/EMT

Morningside Vol. Fire Department (Station 27)/Prince George's County Fire Department (June ‘03-Present)
Position(s) Held: Firefighter/EMT, Apparatus Driver/Operator, Lieutenant, Vice President, Life Member,
Recruitment/Retention Team Member, New Apparatus Design/Procurement Committee Member, Grant
Committee Chairperson, and By-Law Committee Chairperson.

Fire Department Certifications: Firefighter Level I & I], Emergency Medical Technician, Hazardous Materials

Technician, Rescue Technician (Vehicle, Trench, Structural Collapse), Emergency Vehicle Operator, Pump Operator,
Fire Service Instructor I & II, NFA Fire/Arson Origin and Cause Investigation.

PRESENTATIONS/LECTURERS/APPEARANCES:
“Electrical Fire Research” presented at NFPA 921 Committee Meeting, Tucson, AZ, February 2002.

“Arson Investigation” segment, Fox 5 News, WITG-DC, May 2005.

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“The Extent of Evaporation of Ignitable Liquids Under Exposure to Compartment Fires, Non-Fire Thermal and Non-
Thermal Environments” presented at Fire and Materials, San Francisco, CA, January 2007.

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“Application of Fundamental Principles”, presented at International Association of Arson Investigators Conference,
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“Fire Related Deaths and Injuries: The Use of Toxicological Data in Fire Origin and Cause Determination”, presented
at the National Fire Academy, Emmitsburg, MD, March 19, 2011, April 19, 2011, June 28, 2011.

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October 20, 2011.

“Toxicology in Fire Investigation”, presented at the International Association of Arson Investigators, Annual Training
Conference, Dover, DE, April 25, 2012.

“Practical Applications of Fire Dynamics and Modeling”, presented at the National Fire Academy, Emmitsburg, MD,
August 21-23", 2012 and December 2™- 7, 2012.

“Fire Death Investigations”, presented at the Collin County Fire & Arson Investigation Association- 3 Annual
Forensic Fire Death Investigations Course, Huntsville, TX, September 21, 2015.

“Fire Dynamics for Beginners”, presented as a Webinar for the National Association of Subrogation Professionals,
February 16, 2018.

“Forensic Toxicology: Furthering Fire Causation Analysis with Medical Evidence”, presented at the Maine Event,
Portland, ME, July 26, 2018.

“The Scientific Method in Fire Death Investigation” and “The Impact of Drugs and Alcohol in Fire-Related Death”
presented at the International Association of Arson Investigators, Oregon Chapter 31, Advanced Arson Seminar,
Newport, OR, September 19, 2018.

“Fire and Emergency Service Personnel Knowledge, Skills, and Maintaining Proficiency”, National Fire Protection
Association, Fire Protection Research Foundation Workshop, Quincy, MA, October 1* and 2™,

PROFESSIONAL CERTIFICATIONS:

Registered Professional Engineer (Fire Protection), State of Delaware, License # 13162 (2004-present)

Registered Professional Engineer (Fire Protection), State of Maryland, License #39570 (2010-present)

Certified Fire and Explosion Investigator, National Association of Fire Investigators, Registration # 10121-4644
(2004-2012)

Certified Fire Investigator, International Association of Arson Investigators, Certification #53-120705 (2009-present)
Associate Safety Professional, Board of Certified Safety Professionals, Certification # ASP-25757, (2016-2017)
Certified Safety Professional, Board of Certified Safety Professionals, Certification # CSP-33215, (2017-present)
Contracting Officer’s Representative- Level I, Federal Acquisition Institute (2016-2018)

Contracting Officer’s Representative- Level II, Federal Acquisition Institute (2018-2020)

International Firestop Council- Firestop Inspector Certification (2020-present)

PROFESSIONAL AFFILATIONS:

Current

Member, Board of Certified Safety Professionals (BCSP)
Member, International Association of Arson Investigators (IAAI)
Member, International Code Council (ICC)

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Member, National Fire Protection Association (NFPA)
Member, Society of Forensic Toxicology (SOFT)
Member, Society of Fire Protection Engineers (SFPE)

Past

Friend, NFPA 921, Guide for Fire and Explosion Investigations

Committee, NFPA 720, Standard for the Installation of Carbon Monoxide Detection and Warning Equipment
Committee, ISO/TC 92/SC3, Fire threat to people and the environment

Member, Society of Toxicology (SOT)

Member, International Association for Fire Safety Science (IAFSS)

Member, Technical Working Group for Fire and Explosives (TWGFEX)

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Postmortem Blood Samples from Fire Victims”, Forensic Science International, Volume 209, pp. 29-33,
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APPENDIX B: LIST OF TESTIMONY

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Deposition Testimony (Last 4 years):

Glenn Paul Jensen v. Elite Mechanical Systems, LLC.

In District Court of the State of Minnesota, County of Brown, Fifth Judicial District
Court File No. 08-cv-15-33

February 4, 2016

Vincent Williams et al v. Miriam Lucia Gomez and Country Lane Condominium

In the Circuit Court of the 11" Judicial Circuit in and for Miami-Dade County, Florida
Case No.: 2014-014979 CA 30

July 20, 2016

Harper v LQ Management L.L.C., et al

In the District Court of Bexar County, Texas
Cause No. 2014CI09906

March 30, 2017

Donald Lackey et al. v Walter Kidde Portable Equipment, Inc.
In the State of Rhode Island Superior Court, Providence

C.A. No.: PC 12-0110

May 11, 2017

Sabrina Archey et al. v R. Stephen McGinnis et al.

In the Commonwealth of Kentucky, Greenup Circuit Court
Civil Action 16-CI-00068

June 22, 2018

Escamilla et al v Firetrol Protection Systems et al.
In the District Court of Bexar County, Texas
Cause No. 2016CI07805

February 28, 2019

White et al. v FCA US, LLC et al.

In the United States District Court in the Eastern District of Michigan, Southern Division
Case No: 2:17-CV-12320

July 1, 2019

Touse v Jiffy Plumbing & Heating, Inc. et al

In the Circuit Court of Maryland for Prince George’s County
Case No: CAL 19-14285

July 8, 2020

Trial Testimony (Last 4 years):

No trial testimony within the last four years

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APPENDIX C: EXEMPLAR CIGARETTE PHOTOGRAPHS

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APPENDIX D: VIEAU PHOTOGRAPHS OF LIGHT FIXTURE

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Photograph #113

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weight testing failed to reveal the explosive tendencies. In
fact, it readily ignites and explodes from friction or impact.

Christmas trees, artificial

The only US standard for testing artificial Christmas trees is
UL 411°°'. This includes several tests intended for deter-
mining if branches can be directly ignited by faulty electri-
cal lights or wiring, plus a full-scale fire test. It would take
an exceptionally flammable plastic material to fail the test
portions that simulate electric faults, but the full-scale fire
test, on the other hand, is a reasonably tough test. In this
test, 0.454 kg shredded newspaper is dispersed at the base
of the tree in an 0.61 m circle and is ignited at 4 locations.
Failure is declared if the specimen shows flames more than
0.91 m above the top of the tree, if later flame spread takes
place in the tree, so that portions not directly over the igni-
tion source catch fire, or if flaming molten drops continue
flaming upon hitting the floor. This test simulates ignition
from burning gift packages, decorations, or wrappings at
the base of the tree. The test was withdrawn in 2002 due to
non-use. Currently, artificial Christmas trees sold in the US
are largely foreign-made, and these manufacturers have not
been submitting products for UL listing, although some of
them, in fact, can meet the UL 411 requirements.

Most artificial Christmas trees and properly moist natural
ones will resist direct ignition from an electrical source. But
ignitions from defective electrical lights or wiring do occur
and these are understood to generally take place as a two-
stage event. The initial electrical fault produces burning or
hot material that drops onto combustibles under the tree.
These combustibles, once ignited, then function much like
the shredded newspaper source in the UL 411 test to ignite
the tree itself. In general, a tree which would not ignite
from flames applied onto branches can often ignite and
burn vigorously when a burning object is placed underneath
it.

Natural Christmas trees are covered under Forest materials,
vegetation, and hay.

Cigarettes and cigars

Cigarettes are the most common form of ignition which
occurs with upholstered furniture and beds; it is also a
common source of ignition for a wide variety of other fires.
A CPSC study*” on residential fires initiated from ciga-
rettes gave the results shown in Table 20. The products first
ignited in cigarette fires were studied by NFPA*®, as
shown in Table 21. The role of cigarettes as an ignition
source has been reviewed by Holleyhead*™.

A commercial cigarette*” typically weighs 0.6 — 1.1 g, is
7.8 to 8.1 mm in diameter, and has a length of 60 to 100
mm. In one series of tests*” the burn times for 22 different
cigarette packings were measured in the range of 11 — 18
min and, surprisingly, there was no relation to length of
cigarette—the shortest cigarette (70 mm) burned longer
than did any 100 mm cigarettes. In another study, however

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Table 20 Materials first ignited in residential fires caused
by cigarettes

 

 

 

 

 

 

 

 

 

 

 

 

 

Material first ignited Percent
cotton, rayon, or cotton fabric or finished goods 54,3
man-made fabric or finished goods 13.7
untreated, uncoated paper 9.6
fabric, textile or fur, details unknown 3.7
sawn wood 3.2
polyurethane 1.6
tobacco 1.4
multiple items 1.4
PVC 1,2
plastic, unknown type 0.9
other (each less than 0.7%) 6.7
unknown material 2.3

 

 

 

 

Table 21 Product first ignited by cigarettes (data from 542
fires in 8 US cities during 1991-1992)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Product first ignited Percent
mattress or bedding 45.4
upholstered furniture 25.4
trash 8.3
clothing 3.5
floor covering 2.5
papers 1.4
curtain or drapery 1,2
multiple items 1.2
structural element or framing 1.1
box or bag Ll
other known products 7.8
unknown 1.1

 

burning times of 23 — 29 min were found for 100 mm ciga-
rettes*’’: an extreme duration of 34 min has been report-
ed”. The heat output of a cigarette that is not being active-
ly puffed is 4 to 6 W. The autoignition temperature!*'® of
tobacco subject to modest air flow velocities below 1 m s'!
has been found to be 210°C. The peak gas temperature in-
side the cigarette is 800 — 850°C, however values of 700 —
750°C are more representative of larger portions of the
combustion zone. When a cigarette is smoldering and is not
being puffed, temperatures drop by about 100°C*”. The
temperatures measured on the solids are higher than what is
measured in the gas phase. For a puffed cigarette, tempera-
tures of up to 850 — 950°C are found on the solid
‘coal’*°??!°. A temperature of 1110°C has been reported at
an unidentified measuring location®'’. By use of optical
measurement techniques, extremely small zones of 1200°C
temperature have been found during puffing®"’, the small
size, however, makes it unlikely to be of importance in igni-
tion problems. For a cigarette placed on a horizontal sur-
face, the temperature recorded at the cigarette/substrate
juncture is about 630 — 690°C in the case of an insulating
material such as upholstered furniture. In the case of a
dense, hard surface, e.g., calcium silicate board, values of
370 — 470°C are found. The peak heat flux?” from a ciga-
rette to that surface is about 50 — 60 kW m”. Users tend to

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discard non-filter-tip cigarettes’’* when about 32 mm re-
main, with 95% of the discards ranging from 9 to 43 mm.
Krasny has reviewed in more detail the combustion charac-

teristics of cigarettes'*.

Unlike cigarettes, cigars show much more brand variability.
In general, it is considered that cigars do not continue burn-
ing to completion unless air is drawn through them, alt-
hough this may not necessarily be true for all brands in the
marketplace. The rate of burning’ of cigars ranges be-
tween 1.8 and 3.8 mm min’. Left alone, a cigar will burn
for 138 — 310 s before self-extinguishing. During that time,
5 —11 mm will be burned. Some very old data on the tem-
peratures measured in cigars*!* indicate values of 815 —
925°C when not being puffed; these are indistinguishable
from cigarettes.

It may be surprising to realize that cigarettes, puffed or
smoldering, are unable to ignite most mixtures of flamma-
ble gases in air, at least in laboratory tests. Strese*'® meas-
ured a wide variety of gas/air mixtures to determine which
ones could and which ones could not be ignited by ciga-

rettes. Ignition was obtained for:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

acetylene hydrogen

carbon disulfide hydrogen sulfide

ethylene oxide phosphine

diethy] ether

Ignition was not obtained for:

acetone ethylene
acrolein n-heptane
ammonia n-hexane
benzene methane
butadiene methanol
butane methyl amine
butyl acetate methyl chloride
butylene methylene chloride
chlorotrifluoroethylene | n-octane
cyclohexane n-pentane
cyclopropane propane
dimethyl ether iso-propanol
dimethyl amine propylene
dioxane propylene oxide
ethyl acetate town gas
ethanol trimethyl amine
ethyl amine vinyl! chloride

 

 

 

Strese observed that the fuels which do ignite from ciga-
rettes all have MIE values less than about 0.08 mJ, while
most of the gases which do not ignite have values which are
higher. Ethylene (which does not ignite) and vinyl acety-
lene (not tested), however have values which are barely
higher than those of ethylene oxide and hydrogen sulfide,
which do ignite. Toluene appears to be borderline ignitable,
In one set of tests’'’, a single ignition of toluene was ob-
tained with a puffed cigarette, but further trials gave nega-

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tive results. Hards’!* conducted tests where he was able to

ignite diethyl ether from cigarettes, but not butane, pentane
or propane. Nii*’® showed that diethyl ether and carbon
disulfide vapors are readily ignited by cigarettes, especially
if the burning end separates and falls into the flammable
volume. For diethyl ether, the highest fraction of ignitions
was achieved at a vapor concentration of ca. 12% and it
proved impossible to ignite mixtures of 7% concentration or
less.

Several papers report that gasoline vapors are not ignited in
cigarette tests”?! A number of theories have been
proposed why ignilions do not take place when a cigarette
is introduced into a flammable gasoline/air mixture. These
include the highly oxygen-depleted conditions in the hot
zone, and the ‘flame arrester’ action of the ash layer’'®,
Perhaps most germane is the relation shown in Figure 71 in
Chapter 4. In the cigarette, the zone where temperatures
over, say 800°C, exist is only about 2 mm in size. For such
tiny heated areas, very high temperatures are required, more
than 1000°C, and these temperatures are more than can be
achieved by glowing in the cigarette. For a puffed cigarette,
the high temperatures are further counteracted by the very
short time that the gases are in contact with the combustion
area. If the residence times of the gases is estimated’"° as 1
ms, then only gas mixtures with an induction period (for the
appropriate temperature) of less than 1 ms would be prone
to ignition. A limited amount of testing indicates that cigars
behave the same way as cigarettes with respect to ignition
of gases. Neither cigarettes nor cigars are able to ignite dust
cloud explosions*”.

Concerning ‘non-ignition’ results, it must be kept in mind
that all of the laboratory tests have entailed only modest
numbers of trials and were not set up to explore a wide
range of conditions. The test results clearly indicate that
ignition of gasoline vapors by a cigarette would be a rare
event, but it would be imprudent to assume that the possi-
bility is categorically disproved. As Hards*'* noted: “With
negative evidence of this kind one cannot be sure without
performing an infinite number of experiments!” Even
though often-cited results are that natural gas (largely me-
thane) does not ignite from cigarettes**', Bureau of Mines
tests’? showed that a cigarette can ignite a methane/air
mixture, if a velocity of 5 ms" is present. Combustion in a
cigarette is a smoldering process and, presumably, ignition
occurs because the imposed air velocity raises the tempera-
ture of the smolder front. As shown in Figure 68 in Chapter
4, methane is more difficult to ignite than gasoline, so if
methane/air mixtures can be ignited, it would be unreason-
able to consider vapors of gasoline and other more-readily
ignitable gases to be non-ignitable.

It appears that when a cigarette is thrown onto a concrete
surface the likelihood of ignition gasoline vapors may be
higher. DeHaan™ reports conducting some trials where
such throwing did not result in ignition of gasoline vapors.
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However, fire cases have been litigated where this precise
scenario has been identified as the cause of the fire. A spe-
cific case has also been described by Yallop*”, where a fire
was ignited when a man dropped a cigarette near a bowl in
which he was using gasoline as a solvent. As with all igni-
tion, a probabilistic aspect must be considered, and it does
not appear that DeHaan was able to conduct a large number
of trials. Clearly, several aspects of combustion favor igni-
tion in such cases: (1) a large supply of fresh oxygen quick-
ly enters the oxygen-depleted smoldering zone of a ciga-
rette, thereby raising the temperature of the combustion
area; (2) the protective ash layer is knocked off and the hot
central core is directly exposed to the atmosphere; and (3) a
shower of multiple burning fragments often results. What is
not in doubt is that matches or cigarette lighters used to
light a cigarette can ignite gasoline, methane, and a whole
host of other gas mixtures. Thus, in practical cases where a
cigarette is considered as a likely ignition cause, the means
used to ignite the cigarette itself must be given considera-
tion.

DeHaan*™ suggests that ignitions of gases/vapors from
cigarettes that are otherwise identified as ‘non-ignitable’
may be due to flareups in burning, occasioned by foreign
matter in the cigarette. There has not been any study at-
tempting to examine this possibility. A study of smoking-
caused methane explosions in coal mines’’” suggests that
such incidents are generally due to striking a match in a
methane/air atmosphere, not simply due to bringing in an
already-lit cigarette. Yallop reports’”’ the fascinating infor-
mation that stubbing cigarettes out on a block of TNT does
not cause ignition of the TNT.

With all other factors held constant, a filter-tip cigarette is
less likely to ignite a substrate than is a plain-tip cigarette.
This was determined in a study*” which examined the pro-
pensity for cigarettes to ignite wood shavings with a cross-
wind of 0.75 — 1.0 ms". This was attributed to a pulse of
high temperature which results when the smolder front in
cigarette reaches the butt; the pulse does not occur when a
filter is present. The probability of ignition was also found
to be dependent on the wind velocity, but this was not stud-
ied in detail.

The effectiveness of cigarettes as ignition sources for
wastepaper baskets has been examined’”°. For wastebaskets
filled with papers, snack wrappers, fast-food bags and poly-

Table 22 Experimental times for flaming ignition to
take place after placing a cigarette on a given substrate

 

 

 

 

 

 

 

 

 

Substrate Time for ignition (min)
Min. | Avg. | Max.
corrugated cardboard | 12 20 50
cotton 9 16 19
hay, straw 8 15 30
leaves, forest litter 12 46 68
paper 8 17 40

 

 

 

 

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(b)

Figure 20 Ignition of a wastebasket due to cigarette
disposal. (a) last human activity at the location of fire
origin (lower-left frame: cleaner emptying ashtray
contents into rubbish container).

(b) eruption of flaming 3 h 12 min later.
(Courtesy John D. DeHaan and Washington State Police)

styrene foam coffee cups, ignitions were not observed. Oily
paper towels turned out to be ignitable, but out of a total of
300 tests of dropping cigarettes into wastebaskets, flaming
occurred in only 5 instances; the times to flaming ranged
from 14 to 18 minutes. A German study*”’ provided more
comprehensive results (Table 22), but the results were
based on only 12 ~— 15 trials*”*. In fact, much longer ignition
times have been observed in real fires. Figure 20 shows
documentation of a fire that occurred due to cigarette dis-
posal in a rubbish container. The time between the last hu-
man activity at the place of origin and the eruption of flam-
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CHAPTER 14. THEA - Z

ing was 192 minutes. Some additional research is discussed
under Paper products.

In a study of comforters filled with feathers, down or poly-
ester fibers, it was found that no ignitions from cigarettes
occurred; in each case only local, non-progressive charring
was found under the cigarette’. The covers tested included
cellulosic, thermoplastic, and mixed-fiber fabrics. A com-
puter model has been developed to simulate the ignition of
soft furnishings by cigarettes™°; however, it is a research
tool and is not set up for the predictions of real-fire igni-
tions.

US Congress twice passed legislation to investigate the
possibility of reducing cigarette ignitions of upholstered
furniture and mattresses. Pursuant to this, NIST completed
two major studies of test methods intended to qualify safer
cigarettes, these are discussed under Upholstered furniture,
as are other aspects of cigarette ignition of upholstered fur-
niture and mattresses.

Burning of cigarettes is substantially more hazardous in
oxygen-enriched atmospheres. Wharton™' found that in
atmospheres of 30% O, or higher, cigarettes flamed, not
just smoldered, and burned up rapidly. At 40% On, it took
only 8 to 9 s for a 50 mm length of cigarette to be con-
sumed. When dipped in liquid oxygen, a cigarette burns
like a flare.

Clothes irons

A clothes iron normally shows temperatures of 215°C or
lower on its baseplate if no faults are involved and it is not
put down upon an insulating surface’’. The heating ele-
ment is typically rated at 1100 W and clothes irons are so
designed—aunlike many other heat producing devices—that
a 100% duty cycle will rapidly destroy it. If for some reason
the thermostat fails, then a molten base plate (melting tem-
perature ca. 550°C) can result?’, The results of some sim-
ple testing on the propensity of clothes irons to set fire to
clothing have been published’. The study examined the
potential for ignition when an electric clothes iron (without
an automatic shutoff feature) is placed face down on com-
bustible clothing. A lightweight cotton fabric was used,
placed over a cotton ironing-board cover, atop a foam pad.
With an iron that had a properly functioning thermostat and
thermal fuse protection, no fire resulted during a 168 h test,
although substantial scorching resulted. When the thermo-
stat and thermal fuse protection was bypassed, ignition oc-
curred in about 16 min, with visible flaming first occurring
on the bottom surface of the particle-board ironing board,
then progressing upwards. Another study*** found that, with
a defective thermostat, a 1000 W iron reached a peak tem-
perature of 740°C in 20 minutes; this is above the melting
point of aluminum and the aluminum soleplate did melt out.
A different ignition mode is involved when the power cord
is damaged by contact with a hot iron surface.

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CO, extinguishers

When a carbon dioxide extinguisher is discharged, whether
fixed or a portable unit, the discharge comprises gaseous
CO,, particles of frozen CO, and both condensed and fro-
zen water droplets (from atmospheric moisture). Due to
collisions, the stream easily picks up an electrostatic charge.
Thus, in a flammable atmosphere, a hazard can be created if
an electrostatic discharge occurs. In 1966, such an ignition
was the cause of an explosion on the tanker ALVA CAPE
which was on fire after a collision took place and CO, was
discharged for extinguishment. CO, discharge was also the
cause of several disastrous tank explosions in Germany*”®,
with one of the cases involving 29 deaths”.

Leonard and Clark*?’ discharged hand-held 6.8 kg (15 Ib)
CO, extinguishers into a flammable, heptane/air atmos-
phere and obtained explosions in 2 out of 6 trials; tests also
showed that charging voltages of 10 — 40 kV were being
obtained. Haessler*** measured up to 50 kV and a typical
capacitance of 600 pF; the latter value appears to be very
high, but details of experimental arrangements were not
given. Up to 20 kV was found near the nozzle of a fixed
CO, extinguishment system*”’. Butterworth* examined
the electrostatic charging occurring with fixed, total-
flooding CO, installations. He concluded that charging rates
could be reduced by a factor of 20 — 50 by the implementa-
tion of a special discharge nozzle. The two essential traits
of the nozzle were (1) non-metallic material, and (2) a
sharp-edged orifice at the discharge tip, with no further
downstream surfaces available to the flow. Another study
explored the electrostatic fields associated with portable
CO, extinguishers*"'. Maximum field strengths of about 0.6
MV mm’! were found, substantially lower than the break-
down value of 3 MV m'. The authors believe that a shock
hazard exists, however, and that electrostatic ignitions are
not precluded. In opposite conclusion as for the fixed-
installation nozzles, for portable units, the authors found
that a metallic discharge horn was helpful, and that a
grounding wire included with plastic horns had no benefi-
cial effect.

Coal
PROPERTIES OF COAL

The chemical composition of coal varies widely. Very
roughly, coal comprises, by mass, about 80 —- 90% carbon, 4
— 5% hydrogen, 3 — 11% oxygen, 1 — 3% nitrogen, 0.5 —
1% sulfur, and much smaller quantities of other elements.
For bituminous coals, the percent of hydrogen and oxygen
are at the high end, while for anthracite coals they are at the
low end of the range. For many purposes, it is adequate to
represent the effective formula of coal as CH, 4Og¢. A typi-
cal value of heat of combustion is 22 MJ kg” (upper) and
21 MJ kg" (lower). Coal may appear to be a solid sub-
stance, but in fact it is referred to as a “solid colloid”*”. Its
density is typically in the range of 1300 — 1500 kg m’, alt-
hough it can range from below 1000 kg m” to over 2000 kg
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